             Case 21-10051-rlj7 Doc 30 Filed 04/22/21                                                               Entered 04/22/21 14:49:47                                      Page 1 of 137

 Fill in this information to identify the case:

 Debtor name            Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               21-10051-rlj
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        1,067,209.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       12,471,153.43

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       13,538,362.43


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       18,553,586.33


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $        2,939,280.59

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       17,218,740.08


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $         38,711,607.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-10051-rlj
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                                                                            Checking - Payroll
            3.1.     Origin Bank                                            Account                                                                         $0.00




            3.2.     Origin Bank                                            Operating Account                                                               $0.00




            3.3.     First Financial Bank                                   Checking                         5801                                  $34,109.00




            3.4.     Origin Bank - Tax Account                              Checking                                                                        $0.00




            3.5.     Origin Bank                                            Benefits Account                                                                $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $34,109.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                             page 1
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 Debtor            Lauren Engineers & Constructors, Inc.                                       Case number (If known) 21-10051-rlj
                   Name

6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     See schedule A.B Deposits/Prepayments identifying deposits and pre-payments.                                        $184,284.43



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                          $184,284.43
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        7,455,712.00    -                         287,568.00 = ....               $7,168,144.00
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                           4,057,470.00    -                      2,028,735.00 =....                 $2,028,735.00
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                         $9,196,879.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.     Lauren E&C, Inc.                                              100         %                                            Unknown




            15.2.     Lauren Canada, Inc.                                           100         %                                            Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
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 Debtor         Lauren Engineers & Constructors, Inc.                                            Case number (If known) 21-10051-rlj
                Name



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                    $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress
           Materials for the
           Occidental Permian, Ltd.
           project.                                                                                                                         $67,042.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $67,042.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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 Debtor         Lauren Engineers & Constructors, Inc.                                         Case number (If known) 21-10051-rlj
                Name

           Office Furniture located in Abilene and Tylerk
           consisting of tables, chairs, desks, filing
           cabinets, workstations, mirrors, bookcases.
           See Schedule A.B (inventory) for detail.                                                                                      $57,375.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Desktop and laptop computers, servers,
           printers, copiers, a/v equipment, hardware,
           paper shredder, postage machine, software,
           software licenses, power supply, telephones,
           radios, typewriter, cisco system, cabling. See
           Schedule A.B (inventory) for detail.                                                                                         $123,282.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Sculpture (listed on Schedule A.B
                     inventory)                                                                                                            Unknown




 43.       Total of Part 7.                                                                                                            $180,657.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Vans, trucks, trailers. See Schedule A.B
                     for detail.                                                                                                        $148,818.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Lauren Engineers & Constructors, Inc.                                         Case number (If known) 21-10051-rlj
                Name

           Tools, welding equipment, piping equipment,
           fork-lift, heavy equipment, air compressors,
           sand blasters, icemakers, refrigerator. See
           Schedule A.B (inventory) for detail.                                                                                         $659,364.00




 51.       Total of Part 8.                                                                                                         $808,182.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 160.00 acres located
                     in State of Montana,
                     County of Teton.
                     Warranty Deed
                     reflects 50% of
                     remaining oil, gas,
                     and other minteral
                     interests were
                     reservedto Assignor,
                     Miller Colony, Inc.                  Fee simple
                     See attached                         (see above re:
                     schedule A.B-55 for                  mineral
                     legal description.                   interests)                                                                  $1,067,209.00


           55.2.     Leasehold
                     improvements
                     (fencing, electrical,
                     flagpole) See
                     Schedule A.B
                     (inventory) for
                     details.                                                                                                              Unknown




 56.       Total of Part 9.                                                                                                         $1,067,209.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         Lauren Engineers & Constructors, Inc.                                         Case number (If known) 21-10051-rlj
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            "Lauren" branding                                                                                                              Unknown



 61.        Internet domain names and websites
            http://laurenec.com                                                                                                            Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists and compilation of work
            performed.                                                                                                                     Unknown



 64.        Other intangibles, or intellectual property
            Drawings, designs, specifications, native files,
            intellectual property relating to FP
            Hydrotreating LLC Joint Venture with Rigby
            LLC                                                                                                                       $2,000,000.00


            Corporate Opportunity for EPC Contract with
            Rigby LLC and FP Hydrotreating LLC joint
            venture                                                                                                                        Unknown


            Intellectual property, designs, drawings, native
            files, and other work product relating to Tata
            project.                                                                                                                       Unknown


            Designs, drawings, specifications, as built
            drawings for ongoing projects.                                                                                                 Unknown


            Claims and causes of action against Siemens
            Energy, Inc. for acts and omissions including,
            without limitation, breach of contract, delay
            damages, and breach of duties of good faith
            and fair dealing.                                                                                                              Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor         Lauren Engineers & Constructors, Inc.                                         Case number (If known) 21-10051-rlj
                Name




 65.        Goodwill

 66.        Total of Part 10.                                                                                                       $2,000,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            D&O insurance policy (Federal Insurance Co. - Chubb)                                                                           Unknown



            See attached schedule of insurance policies.                                                                                   Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Claims and causes of action against Origin Bank for
            acts and omissions in connection with processing of
            Debtor's Payroll Protection Program (Round 2)
            application.                                                                                                                   Unknown
            Nature of claim          Business Tort Claims
            Amount requested



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         Lauren Engineers & Constructors, Inc.                                         Case number (If known) 21-10051-rlj
                Name

           Claims and causes of action against Origin Bank for
           acts and omissions including, without limitation,
           improper loan administration, breach of contract,
           tortious interference with existing contracts, tortious
           interference with prospetive business contracts, rights
           of offset and/or setoff, bad faith conduct, fraudulent
           misrepresentation, negligent misrepresentation, and
           breach of duties of good faith and fair dealing.                                                                              Unknown
           Nature of claim           Business Tort Claims
           Amount requested



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
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 Debtor          Lauren Engineers & Constructors, Inc.                                                               Case number (If known) 21-10051-rlj
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $34,109.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $184,284.43

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $9,196,879.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $67,042.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $180,657.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $808,182.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,067,209.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $2,000,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $12,471,153.43             + 91b.            $1,067,209.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $13,538,362.43




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
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       Schedule A.B-7 Deposits and Prepayments
                                                                                     Term                  AP        G/L                           Initial   Monthly     31-Mar
             Vendor                          Description                  Start      End       Length     Ref #     Expense   Project ID   Task     Cost     Expense     Balance

ASME                  Boiler Certifications                              02/26/19   02/25/22    36                  814020 930000-00500-50-93-150 7,050.00     195.83     1,958.34
PC Conn               3-year support 8040S Appliance Unitrends           03/10/19   02/09/22    36      PO 062597   827030 950000-00600-50-97-03038,938.77   1,081.63    11,897.96
Datroo Technologies   iPrism WSA 7550 Appliance upgade & renewal 3 yrs   09/30/19   09/29/22    36      PO 065042   827030 950000-00600-50-97-03019,121.28     531.15     9,029.48
PC Conn               2-yr Forever Cloud 500GB Unitrends                 05/01/20   04/30/22    24      AP 347832   827030 950000-00600-59-97-03013,401.35     558.39     7,259.06
PC Conn               Bitdefender Elite Security 1 yr                    05/01/20   04/30/21    12      AP 347847   827030 950000-00600-59-97-0309,694.87      807.91       807.90
TRIBRIDGE             Annual Maintenance/Support Paramount               08/01/20   08/31/21    12      PO 062941   827030 950000-00600-59-97-0302,602.64      216.89       867.55
EXAKTIME              ExakTime Connect/Hornet Data Plan Annual           07/01/20   07/31/21    12      PO 068387   815070 930000-00100-50-91-20017,365.14   1,447.10     4,341.28
Datroo                Exinda Prem Support Renewal                        07/05/20   07/04/21    12      PO 068338   827030 950000-00300-50-91-0004,804.14      400.35     1,201.03
PC Connect            CradlePoint Router/Netcloud                        08/18/20   08/17/21    12      PO 068527   827000 950000-00300-50-97-0003,865.46      322.12     1,288.49
PC Conn               1 YR Pulse Gold Direct/onsite support              09/01/20   08/31/21    12      PO 069014   827010 950000-00300-50-97-0003,782.26      315.19     1,575.94
AVEVA                 PRO/II Process Engineering                         09/01/20   08/31/21    12      PO 064543   812030 910000-43400-50-91-20065,722.90   5,476.91    27,384.54
PC Conn               APC 1 YR Advantage Plan                            09/01/20   08/31/21    12      PO 068529   827010 950000-00300-50-97-0003,100.01      258.33     1,291.68
DDS Inc               321Forms Annual Subscription                       09/01/20   08/31/21    12      AP 356976   822070 960000-00100-50-96-0005,500.00      458.33     2,291.67
Bentley               Bentley CONNECTIONS Passport-Annual                09/15/20   09/14/21    12                  812030 910000-43100-50-91-2004,494.54      374.55     1,872.72
CDW Direct            HPE Renewal AVH 121549745-IF/LAUREN                10/23/20   10/22/21    12      PO 069081   827030 950000-00300-50-91-0007,105.53      592.13     4,144.89
Datroo                Nimble Hardware Support Renewa                     10/01/20   09/30/21    12      PO 069165   827030 950000-00300-50-91-0004,758.67      396.56     2,379.33
Lifesize              Lifesize Icon 600 - DDS                            10/07/20   10/06/21    12      PO 069133   827030 950000-00600-59-97-0303,618.94      301.58     1,809.47
PCCONN                PC Connection Production support/Vmware            11/01/20   10/31/21    12      PO 069208   827030 950000-00300-50-97-0003,420.64      285.05     1,995.38
ISN SOFT              Annual Isnet Subscription, Business Development    11/21/20   11/20/21    12      AP 358752   822070 950100-00100-50-91-4007,675.20      639.60     4,477.20
PC CONN               PC Conn 1 YR 8HR Upgrade                           12/17/20   12/16/21    12      PO 068529   827010 950000-00300-50-97-000 569.67        47.47       379.78
P2Programs            STS Yearly Maint                                   01/01/21   12/31/21    12      PO 066478   827030 950000-00600-59-97-0303,978.20      331.52     2,983.64
Dimension             Foundation 3D Premium, Met3D Premium, DSAnchor     01/01/21   12/31/21    12      PO 069459   812030 910000-43100-50-91-2007,090.00      590.83     5,317.50
Quest Soft            Renewal Maintenance                                01/01/21   12/31/21    12      PO 069435   827030 950000-00300-50-91-0003,627.87      302.32     2,720.91
CDW                   Autodesk NavisWorks Simulate                       01/24/21   01/23/22    12      PO 069503   812030 910000-43100-50-91-20014,995.37   1,249.61    13,745.76
CDW                   Autodesk NavisWorks Simulate                       01/24/21   01/23/22    12      PO 069503   812030 910000-43400-50-91-200 789.23        65.77       723.46
Tribridge             Dynamics Annual Software Maint                     02/07/21   02/06/22    12      PO 069502   827030 950000-00600-50-97-03063,441.58   5,286.80    58,154.78
CBRE, Inc.            Commission Due - Lease Execution                   11/01/18   01/31/22    39      AP310737    824030 950000-00600-50-93-00048,300.33   1,238.47    12,384.70

                                                                                                                                                                        184,284.43
 Class:
           Case 21-10051-rlj7 Doc 30 Filed 04/22/21 Entered 04/22/21 14:49:47
          COLLECTIB Collectibles
                                                                                Page 13 of 137
                                             Schedule A.B (Inventory)
    Category: COLLECTIB Collectibles

0000001509 0000000001 SCULPTURE


 Class:   COMPUTERS Computers
    Category: COMMUNICAT Communications Equipment

0000000676 0000000001 NEW PHONE SYSTEM
0000000678 0000000001 PHONE SYSTEM EQUIPMENT
0000000714 0000000001 VIDOE CONF. EQUIP
0000000770 0000000001 VIDOE CONF. EQUIP
0000000791 0000000001 VIDOE CONF. EQUIP (DATROO PROF. CONSULTIN
0000001465 0000000001 TELTEK SERVICES
0000001534 0000000001 HITACHI CP-X450 XGA LCD 3500 L
0000001569 0000000001 FRONT PROJECTION 1080P EPSON
0000001722 0000000001 PO#034540 COMM EQUIP.
0000001921 0000000001 CISCO 1941 WAN ROUTER
0000001986 0000000001 CISCO 2911 INTERGRATED SERVICE
0000002018 0000000001 LIFESIZE ICON 600 10X OPTICAL
0000002033 0000000001 CISCO 2911 INTERGRATED SERVICE
0000002035 0000000001 LIFESIZE ICON 600 10X OPTICAL
0000002058 0000000001 DATROO LIFESIZE ICON 600 PO 050590


    Category: DESKTOP Desktop

0000001572 0000000001 TAX
0000001573 0000000001 HP SB 6550B I5-460M 320GB W7P
0000001574 0000000001 FREIGHT
0000001655 0000000001 2186573 HP WORKSTATION
0000001663 0000000001 2541407 HP SB 6200
0000001676 0000000001 HP SB 6200
0000001681 0000000001 2541407 DESKTOP
0000001690 0000000001 2186573 HP SB Z400 W3550 500GB
0000001691 0000000001 2186573 HP COMPUTER
0000001697 0000000001 2541407 DESKTOP
0000001714 0000000001 DESTOP PO#034086
0000001720 0000000001 PO#034453 DESKTOP
0000001728 0000000001 DESKTOP PO#034701
0000001729 0000000001 DESKTOP PO#034698
0000001733 0000000001 6 DESKTOP/ LAPTOP
0000001746 0000000001 DESKTOP PO#035308
0000001768 0000000001 DESKTOP PO#035753
0000001785 0000000001 DESKTOP PO#036184
0000001788 0000000001 DESKTOP PO#036181
0000001797 0000000001 DESKTOP PO#036278
0000001806 0000000001 DESKTOP PO#036460
0000001812 0000000001 DESKTOPS PO 036666
0000001813 0000000001 DESKTOP PO#036669
0000001832 0000000001 DESKTOP PO #037091
0000001837 0000000001 LAPTOP PO #037238
0000001895 0000000001 DESKTOP PO #038457
0000001901 0000000001 DESKTOP PO #038515
0000001907 0000000001 DESKTOP PO # 038835
0000001923 0000000001 DESKTOP PO #039408
0000001925 0000000001 DESKTOP PO #039411
0000001929 0000000001 DESKTOP/LAPTOP PO #039191
0000001933 0000000001 DESKTOP PO #039690
0000001937 0000000001 DESKTOP PO #039964
0000001940 0000000001 DESKTOP PO #040107
0000001943 0000000001 DESKTOP PO #040396
0000001947 0000000001 DESKTOP PO #040416                                                    1
0000001951 Case   21-10051-rlj7
           0000000001 DESKTOP PODoc  30
                                #040323      Filed 04/22/21   Entered 04/22/21 14:49:47   Page 14 of 137
0000001952 0000000001 DESKTOP PO #040549
0000001961 0000000001 DESKTOP PO #040663
0000002063 0000000001 WWS850 FREEDOM WRLS BLUETOOTH
0000002068 0000000001 PO 051772 DESKTOPS FOR BARCODING SYSTEM TRLRS


    Category: HARDWARE Hardware

0000000154 0000000001 AMEX
0000000180 0000000001 RCL INCONGRUENT SUB ACCTS
0000000184 0000000001 WIRE TRANSFER - RADIOS
0000000514 0000000001 ROTATIONALLY MOLDED BLACK BOX RACK
0000000517 0000000001 PULSE
0000000552 0000000001 5 SEC DISPLSY BAG
0000000555 0000000001 ACER AL1916 AB (5)
0000000559 0000000001 HP SB DC 5750
0000000579 0000000001 H& S SURVEY - TRIPOD
0000000627 0000000001 HARD DRIVE, ETC
0000000655 0000000001 PROCURVE SWITCH
0000000659 0000000001 PROCURVE SWITCH
0000000660 0000000001 PROCURVE SWITCH
0000000674 0000000001 BACKUP FOR SERVER
0000000707 0000000001 HP PROCURVE SWITCH
0000000713 0000000001 HARDWARE FROM ONE VISION FOR THE MULTIMEDIA CONF.
0000000771 0000000001 PROCURVE SWITCH
0000000777 0000000001 TRIPP INTERNET & ACER AL
0000000784 0000000001 HARDWARE FROM MS &CDW
0000000792 0000000001 CISCO HARDWARE
0000000801 0000000001 TRIPP INTERNET & ACER AL HARDWARE
0000000802 0000000001 CAD MACHINE
0000000833 0000000001 AUTO CAD RASTER
0000000844 0000000001 RARITAN HARDWARE
0000000956 0000000001 CDW - ESTERNAL HARD DRIVE ARRAY
0000000962 0000000001 CDW - FIREWALL HARDWARE
0000000974 0000000001 CDW - PROCURVE SWITCH
0000000989 0000000001 DATROO-PACKET SHAPER
0000001002 0000000001 APC SMARTUPS 1500VA
0000001003 0000000001 IP SWITCH, KVM PORT
0000001009 0000000001 REPLACEMENT SECURITY CAMERAS
0000001023 0000000001 BACKUP BATTERY SERVERS
0000001406 0000000001 APC SYMMETRA UPS
0000001409 0000000001 ELECTRICAL UPGRADES - APC SYMMETRA UPS
0000001410 0000000001 WYSE V90LE/ACER X263WBI
0000001461 0000000001 WCO-4205 WEB CONFERENCE OPTION
0000001473 0000000001 APC SMARTUPS 22OOVA RM 2U 120V
0000001490 0000000001 HP UNIVERSAL HARD DRIVE 300 GB
0000001495 0000000001 QUANTUM SL3 LTO4 W/8 FREE MED
0000001501 0000000001 HP PROCURVE GBIC SX-LC MINI
0000001516 0000000001 PROXIM TSUNAMI QUICKBRIDGE 505
0000001530 0000000001 HP 300GB 3G PLUG SAS 10K DP SF
0000001546 0000000001 HP ULTRIUM 1760 TAPE DRIVE
0000001555 0000000001 HP 300 GB 3G PLUG SAS 10K DP S
0000001561 0000000001 KINGSTON 4 GB DDR2 67 LOW PWR KIT
0000001562 0000000001 KINGSTON 4 GB KIT/2 REG D2-400 ECC 24
0000001568 0000000001 CDW-STORAGE FOR LEC 7(LCI DATA) AND ALPHA-1
0000001633 0000000001 EW-20H-3YR-PROMO
0000001642 0000000001 CISC0281
0000001657 0000000001 2186573 HP WORKSTATION
0000001659 0000000001 HP SB Z400 W3550 500GB W7P DVR-HARDWARE
0000001695 0000000001 DATROO CISCO 2911 INT SERVICE
0000001698 0000000001 1491062 HP SWITCH
                                                                                                      2
0000001740 Case   21-10051-rlj7
           0000000001            Doc 30
                      BACK UP NETWORK   Filed
                                      EQUIP        04/22/21   Entered 04/22/21 14:49:47   Page 15 of 137
0000001748 0000000001 NETWORK SWITCH
0000001810 0000000001 HARDWARE PO#036602
0000001931 0000000001 JUNIPER PULSE GW4610 APPLIANCE
0000001970 0000000001 HP 2920-48G SWITCH
0000001971 0000000001 HP 2920- 48G SWITCH
0000002011 0000000001 HP M67 10 300GB 6G SAS 15K 5IN
0000002012 0000000001 HP SN 300B 24/12 FC SWITCH
0000002079 0000000001 PO 053803 DATROO SAN
0000002145 0000000001 GREEN KEYTAB
0000002175 0000000001 MERAKI MS 120-48FP GIGABIT POE ETHERNET SWITCH


    Category: LAPTOP Laptop

0000001399 0000000001 HP 6730B
0000001405 0000000001 HP 2710P
0000001407 0000000001 HP 6730B
0000001411 0000000001 HP 6730B
0000001412 0000000001 HP 6830S 2 LAPTOPS
0000001413 0000000001 HP 6730B
0000001415 0000000001 HP 8530P
0000001421 0000000001 HP 6730B
0000001422 0000000001 HP 8730W
0000001423 0000000001 HP 6730B
0000001433 0000000001 HP 8710P
0000001436 0000000001 HP 6830S
0000001446 0000000001 HP 6730B
0000001449 0000000001 HP 6730B
0000001450 0000000001 HP 6730B
0000001456 0000000001 HP SB 6730B P8600 250GB DVR XP
0000001458 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001459 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001471 0000000001 HP SB 8730W T9600 250GB 2GB XP
0000001485 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001486 0000000001 HP SB 8730W P8400 160GB 2GB XP
0000001487 0000000001 HP SB 8730W T9600 250GB 2GB XP
0000001491 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001492 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001494 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001499 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001511 0000000001 HP SB 6730B P8600 250G 2GB XPP
0000001512 0000000001 HP SB 6730B P8600 250 GB 2GB X
0000001515 0000000001 HP SB 6730B P8600 250GB 2GB XP
0000001527 0000000001 HP SB 6730B P8600 320GB 2GB 7X
0000001531 0000000001 HP SB 6730B P8600 320GB 2GB 7X
0000001533 0000000001 HP SB 8730W T9600 320GB 2GB 7X
0000001535 0000000001 HP SB 6730B P8600 320 GB 2GB 7
0000001539 0000000001 HP SB 6730B P8600 320GB 2GB 7X
0000001543 0000000001 HP SB 6730B P8600 320GB 20GB 7
0000001545 0000000001 HP SB 6730B P8600 320GB 2GB 7X
0000001635 0000000001 HP SB 8560P I7-2620M 500GB 4GB
0000001636 0000000001 HP SB 8560P I7-2620M 500GB 4GB
0000001639 0000000001 HP SB 8560P I7-2620M 500GB 4GB W79 D
0000001646 0000000001 HP SB 8560P 17-2620M 500GB 4GB
0000001650 0000000001 2331044 LAPTOP
0000001652 0000000001 2331044 HP LAPTOP
0000001653 0000000001 2403432 HP SB 8760W 17-2630QM
0000001654 0000000001 HP ELITEBOOK W/DOCKING STATION
0000001656 0000000001 2331044 HP LAPTOP
0000001662 0000000001 2331044 HP LAPTOP
0000001664 0000000001 2331044 LAPTOP                                                                  3
0000001665 Case   21-10051-rlj7
           0000000001             Doc 30
                      2331044 HP LAPTOP      Filed 04/22/21   Entered 04/22/21 14:49:47   Page 16 of 137
0000001671 0000000001 2403432 HP LAPTOP
0000001672 0000000001 2403432 HP8760 LAPTOP
0000001673 0000000001 HB SB 8560P 500GB 4GB W7P D
0000001675 0000000001 HP SB 8560P-ATLANTA OFFICE
0000001677 0000000001 HP SB 8560P 500GB 4GB-INDIA
0000001680 0000000001 2331044 HP LAPTOP-INDIA
0000001682 0000000001 2403432 LAPTOP
0000001693 0000000001 2611414 HP LAPTOP
0000001694 0000000001 2331044 HP SB 8560P
0000001701 0000000001 2611414 HP SB 500GB LAPTOP
0000001702 0000000001 2403432 HP LAPTOP
0000001704 0000000001 2598618 HP LAPTOP
0000001705 0000000001 2598618 HP SB 8560
0000001706 0000000001 2331044 HP ELITEBOOK
0000001709 0000000001 LAPTOP PO#034128
0000001710 0000000001 LAPTOP PO#034336
0000001711 0000000001 LAPTOP-PO#034335
0000001716 0000000001 LAPTOP PO#034186
0000001717 0000000001 LAPTOP PO#034187T. OCONNELL
0000001719 0000000001 PO#0344945 LAPTOP
0000001725 0000000001 LAPTOP PO#034536
0000001730 0000000001 LAPTOP PO#034708
0000001735 0000000001 LAPTOP PO#034839
0000001737 0000000001 LAPTOP PO#034946
0000001739 0000000001 LAPTIOP PO#035035
0000001741 0000000001 LAPTOP PO#035156
0000001743 0000000001 SOFTWARE LICENSES PO#035230
0000001745 0000000001 LAPTOP PO#035186
0000001749 0000000001 LAPTOP PO#035355
0000001750 0000000001 LAPTOP PO#035398
0000001752 0000000001 LAPTOP PO#035487
0000001762 0000000001 LAPTOP PO#035541
0000001763 0000000001 LAPTOP PO#035593
0000001764 0000000001 LAPTOP PO#035708
0000001765 0000000001 LAPTOP PO#035709
0000001766 0000000001 LAPTOP PO#035719
0000001767 0000000001 LAPTOP PO#035757
0000001770 0000000001 LAPTOP PO#035850
0000001776 0000000001 LAPTOP PO#036030
0000001780 0000000001 LAPTOP PO#036062
0000001782 0000000001 LAPTOP PO#036099
0000001786 0000000001 LAPTOP PO#036176
0000001787 0000000001 LAPTOP PO#036200
0000001798 0000000001 LAPTOP
0000001799 0000000001 LAPTOP PO#036390
0000001800 0000000001 LAPTOP PO#036350
0000001805 0000000001 LAPTOP PO#036451
0000001807 0000000001 LAPTOP PO#036549
0000001808 0000000001 LAPTOP PO#036461
0000001811 0000000001 LAPTOPS PO#036666
0000001814 0000000001 LAPTOP PO#036756
0000001815 0000000001 LAPTOP PO#036759
0000001816 0000000001 LAPTOP PO#036784
0000001817 0000000001 LAPTOP PO#036786
0000001820 0000000001 LAPTOP PO #036985
0000001821 0000000001 LAPTOP PO #036922
0000001824 0000000001 LAPTOP PO #036922
0000001825 0000000001 LAPTOP PO #036908
0000001826 0000000001 LAPTOP PO #036987
0000001828 0000000001 LAPTOP PO #037025                                                               4
0000001829 Case   21-10051-rlj7
           0000000001            Doc 30
                      LAPTOP PO #037027    Filed 04/22/21   Entered 04/22/21 14:49:47   Page 17 of 137
0000001830 0000000001 LAPTOP PO #037044
0000001831 0000000001 LAPTOP PO #037063
0000001834 0000000001 LAPTOP PO #037122
0000001836 0000000001 LAPTOP PO #037190
0000001838 0000000001 LAPTOP PO #037330
0000001839 0000000001 LAPTOP PO #037467
0000001840 0000000001 LAPTOP PO #037464
0000001841 0000000001 LAPTOP PO #037422
0000001842 0000000001 LAPTOP PO #037424
0000001843 0000000001 LAPTOP PO #037423
0000001844 0000000001 LAPTOP PO #037272
0000001846 0000000001 LAPTOP PO #037318
0000001848 0000000001 LAPTOP PO #037296
0000001849 0000000001 LAPTOP PO # 037332
0000001850 0000000001 LAPTOP PO #037331
0000001851 0000000001 MOBILE WORKSTN PO#037263
0000001852 0000000001 LAPTOPS-WKSTNS PO #037507
0000001853 0000000001 LAPTOP PO #037521
0000001854 0000000001 LAPTOP PO #037518
0000001855 0000000001 LAPTOP PO #037562
0000001856 0000000001 LAPTOP PO #037564
0000001857 0000000001 LAPTOP PO #037634
0000001858 0000000001 LAPTOP PO #037636
0000001859 0000000001 LAPTOP PO #037590
0000001860 0000000001 LAPTOP PO #037666
0000001863 0000000001 LAPTOP PO #037591
0000001865 0000000001 LAPTOP PO #037691
0000001866 0000000001 LAPTOP PO #037667
0000001867 0000000001 LAPTOP PO #037761
0000001868 0000000001 LAPTOP PO #037720
0000001869 0000000001 LAPTOP PO #037638
0000001872 0000000001 LAPTOP PO #037770
0000001873 0000000001 LAPTOP PO #037822
0000001875 0000000001 LAPTOP PO #037938
0000001876 0000000001 LAPTOP PO #037896
0000001877 0000000001 LAPTOP PO #037799
0000001878 0000000001 LAPTOP PO #038103
0000001879 0000000001 LAPTOP PO #037957
0000001880 0000000001 LAPTOP PO #038010
0000001881 0000000001 LAPTOP PO #038108
0000001882 0000000001 LAPTOP PO #038085
0000001883 0000000001 LAPTOPS (5) PO #038115
0000001887 0000000001 LAPTOP PO #038224
0000001888 0000000001 LAPTOP PO #038231
0000001889 0000000001 LAPTOP PO #038181
0000001890 0000000001 LAPTOP PO #038164
0000001892 0000000001 LAPTOP PO #038234
0000001894 0000000001 LAPTOP PO #038444
0000001902 0000000001 LAPTOP PO #038586
0000001903 0000000001 LAPTOP PO #038630
0000001906 0000000001 LAPTOP PO # 038830
0000001908 0000000001 LAPTOP PO # 038816
0000001909 0000000001 LAPTOP PO # 038839
0000001911 0000000001 LAPTOP PO # 038882
0000001912 0000000001 LAPTOP PO #038937
0000001913 0000000001 LAPTOP PO #039027
0000001914 0000000001 LAPTOP PO #039076
0000001915 0000000001 LAPTOP PO #039020
0000001916 0000000001 LAPTOP PO #038959
0000001917 0000000001 LAPTOP PO #039063                                                             5
0000001918 Case   21-10051-rlj7
           0000000001            Doc 30
                      LAPTOP PO #038632    Filed 04/22/21      Entered 04/22/21 14:49:47   Page 18 of 137
0000001924 0000000001 LAPTOP PO #039457
0000001926 0000000001 LAPTOP PO #039403
0000001927 0000000001 LAPTOP PO # 039396
0000001930 0000000001 LAPTOP PO #039393
0000001932 0000000001 LAPTOP PO #039592
0000001936 0000000001 LAPTOP PO #039864
0000001939 0000000001 LAPTOP PO #040100
0000001945 0000000001 LAPTOP PO #040547
0000001946 0000000001 LAPTOP PO #040546
0000001948 0000000001 LAPTOP PO #040596
0000001949 0000000001 LAPTOP PO #040147
0000001950 0000000001 LAPTOP PO #040380
0000001962 0000000001 LAPTOP PO #032179
0000001963 0000000001 LAPTOP PO # 040726
0000001964 0000000001 LAPTOP PO #040955
0000001965 0000000001 LAPTOP PO # 041026
0000001967 0000000001 LAPTOP PO #041256
0000001968 0000000001 LAPTOP PO #041258
0000001969 0000000001 LAPTOP PO #041261
0000001973 0000000001 LAPTOP PO #041423
0000001975 0000000001 LAPTOP PO #041420
0000001976 0000000001 LAPTOP PO #041423


    Category: LICENSES Software Licenses

0000000519 0000000001 DYNAMICS SL SYSTEM USERS
0000000564 0000000001 MS LISCENSES
0000000641 0000000001 ECAD-6 LICENSES
0000000668 0000000001 SERVER LICENSE
0000000719 0000000001 SOFTWARE LISCENCES
0000000720 0000000001 SOFTWARE LISCENSES
0000001477 0000000001 ADMIN/SUPERVISOR USERS
0000001482 0000000001 SOLUTIONS MBAF,LLC
0000001484 0000000001 TRIBRIDGE HOLDINGS LLC.
0000001493 0000000001 SYM BE OPT LIB N 12.5 WIN STD
0000001538 0000000001 MSSLA SHAREPOINT UCAL 2007 - 1
0000001540 0000000001 MS SLA SQL SRV STD 2008 MFG #
0000001542 0000000001 MS SLA WIN SRV STD 2008 R2-182-KAMTECH
0000001544 0000000001 MS SLA SHAREPOINT UCAL 2007 -
0000001551 0000000001 5805/MICROSTATION PERPETUAL LI
0000001554 0000000001 MS SLA SHREPOINT STD UCAL 2010
0000001558 0000000001 MS SLA WIN SRV UCAL 2008-14167
0000001559 0000000001 QUEST RECOVERY MANAGER F/AD PE
0000001565 0000000001 MICROSOF01-DSLS001 ADDITIONAL
0000001567 0000000001 SOFTWARE LISCENSES
0000001575 0000000001 TAX
0000001576 0000000001 LITESPEED ENTERPRISE FOR SQL S
0000001577 0000000001 LITESPEED ENTERPRISE FOR SQL S
0000001578 0000000001 TAX
0000001579 0000000001 LITESPEED ENGINE FOR ORACLE PE
0000001580 0000000001 LITESPEED ENGINE FOR ORACLE PE
0000001626 0000000001 MS SLA SHAREPOINT STD UCAL 201
0000001644 0000000001 CDW DIRECT- SOFTWARE LICENSES- MS SLA SHAREPOINT
0000001649 0000000001 SP FOUNDATION BASIC INTERGRATO
0000001666 0000000001 2080025 SLA+ SHAREPOINT STD
0000001669 0000000001 SP FOUNDATION BASIC INTEGRATOR
0000001699 0000000001 2080025 SHAREPOINT
0000001700 0000000001 CRM ONE TIME (20 USERS)
0000001715 0000000001 SOFTWARE LICENSE PO#034043
0000001724 0000000001 SOFTWARE LICENSES PO 034510
                                                                                                       6
0000001736 Case   21-10051-rlj7
           0000000001           Doc 30PO#034858
                      SOFTWARE LICENSES Filed 04/22/21           Entered 04/22/21 14:49:47   Page 19 of 137
0000001744 0000000001 SOFTWARE LICENSES PO#035230
0000001754 0000000001 SOFTWARE LICENSE PO#035461
0000001755 0000000001 SOFTWARE LICENSE PO#035285
0000001809 0000000001 SOFTWARE LICENSES PO#036538
0000001864 0000000001 SHAREPOINT LICENSE PO #037680
0000001870 0000000001 LICENSE PO # 037735
0000001871 0000000001 PAPERSAVE LICENSE PO#037682
0000001874 0000000001 LICENSE PO #037840
0000001893 0000000001 SHRPNT LICENSE PO #038344
0000001928 0000000001 BLUEBEAM REVU STANDARD- SEATS
0000001934 0000000001 EXTEND SHAREPOINT LIC 5 USER
0000001980 0000000001 LICENSES PO #041266
0000002014 0000000001 SQL SVR STD CORE ALNG
0000002027 0000000001 MS SLA_ SHAREPT STD 2013 UCAL
0000002055 0000000001 MS MPSA SHR PNT SRV SRV SL
0000002103 0000000001 OPEN LICENSING WINDOWS SERVER
0000002103 0000000002 TAX
0000002152 0000000001 MICROSOFT WINDOWS SERVER 2019 - LICENSE 1 USER CAL


    Category: MONITOR Monitor

0000001651 0000000001 1054412 HP USB
0000001823 0000000001 MONITORS PO # 036909


    Category: PERIPHERAL Peripheral Equipment

0000000582 0000000001 CDW - SERVER RACKS
0000000605 0000000001 CDW - DVD DUPLICATOR
0000000624 0000000001 APC PLUG PWR SUPPLY
0000001835 0000000001 HP 300GB 6G PLUG SAS 10K SFF D


    Category: PRINTER Printer

0000000775 0000000001 LJ PRINTER
0000001001 0000000001 PRINTERS
0000001004 0000000001 PRINTERS
0000001517 0000000001 HP DESIGN JET 510 24-IN PRINTER (CH336A)
0000001615 0000000001 KIP 7100 ROLL MULTI-FUNCTION D
0000001616 0000000001 DOUBLE STACK RACK
0000001634 0000000001 KIP 71000-CPCS WIDEFORMAT
0000001647 0000000001 A030 WIRELESS PRINTER PACKAGE
0000001712 0000000001 PRINTER SCANNER COPIERPO#03419
0000002006 0000000001 HP DESIGN T2500PS
0000002016 0000000001 HP DESIGNJET T2500 36-IN POSTS


    Category: SERVER Server

0000000562 0000000001 SYSTEMAX DUO SERVER
0000000581 0000000001 CDW - KVM UNIT FOR SERVER EXPANSION
0000000583 0000000001 CDW - SERVERS FOR DYNAMICS
0000000631 0000000001 PDS SERVER
0000000636 0000000001 SYSTEMAX SATA SERVER
0000000663 0000000001 HUBBELL CAT5E PANEL
0000000705 0000000001 REPLACEMENT SERVER
0000000706 0000000001 REPLACEMENT SERVER
0000000967 0000000001 CDW - AVOCENT SPC 1600 (SERVER, SWITCH, ETC)
0000001398 0000000001 HP DL360/HP DL580
0000001418 0000000001 HP DL360 E5450
0000001437 0000000001 DRIVES - IRVING SERVER
0000001448 0000000001 BUFFALO TERASTATION PRO II-IRVING
0000001451 0000000001 HP DL380 SERVER
                                                                                                         7
0000001521 Case   21-10051-rlj7
           0000000001             Doc 30
                      HP DL580 G5 E7330 4GBFiled
                                           2P      04/22/21   Entered 04/22/21 14:49:47   Page 20 of 137
0000001581 0000000001 TAX
0000001582 0000000001 HP 600GB 6G SAS LOK 2.5 IN HOD
0000001583 0000000001 DISKEEPER 2010 SRV VL 20-49VL
0000001584 0000000001 HP 750W CS HE POWER SUPPLY KIT
0000001585 0000000001 HP ML350/370G6 8 SFF 2ND DRV C
0000001586 0000000001 HP SAS EXPANDER CARD
0000001587 0000000001 HP 1GB FLASH BACKED CACHE
0000001588 0000000001 HP SB 4GB PC3-10600R-9
0000001589 0000000001 HP ML370 G6 E5649 BASE SFF
0000001590 0000000001 HP 146GB 6G PLUG SAS 15K 2.5 D
0000001591 0000000001 FREIGHT
0000001604 0000000001 TAX
0000001605 0000000001 HP DL380 G7 E5649 BASE SVR
0000001606 0000000001 HP 460W HE 12V HOTPLUG AC PWR
0000001607 0000000001 HP SLIM DVR SATA OPTICAL KIT
0000001608 0000000001 HP DL380 G6 8SFF CAGE KIT
0000001609 0000000001 KINGSTON 4GB DDR3- 1333 ECC 24
0000001610 0000000001 HP 1GB FLASH BACKED CACHE
0000001611 0000000001 HP SAS EXPANDER CARD
0000001612 0000000001 HP 600GB 6G SAS LOK 2.5 IN HDD
0000001613 0000000001 HP 146GB 6G PLUG SAS 15K 2 . 5
0000001614 0000000001 FREIGHT
0000001619 0000000001 HP DL380 G7 E5649 BASE SVR
0000001620 0000000001 HP DL360 G7 E5630 6GB BASE
0000001632 0000000001 2318032 HP DL380 G7 E5649 BASE
0000001645 0000000001 CDW DIRECT- SERVER- HP SB DL360G7 E5649US SVR
0000001747 0000000001 ADD. HARDWARE FOR SERVER PO#035352
0000001751 0000000001 ADD HARDWARE FOR SERVER
0000001775 0000000001 SEVER STORAGE
0000001862 0000000001 HP GEN8 DL360P E5-2640 BASE SV
0000001896 0000000001 SERVER EXPANSION PO #038497
0000001935 0000000001 SERVER PO #039723
0000001941 0000000001 HP GEN8 DL360P E5-2640 BASE SV
0000001983 0000000001 HP GEN8 600GB 6G SAS 15K 3.50
0000002008 0000000001 HP DL380P GEN8 E5-2690V2 PERF
0000002017 0000000001 HP SB DL360P GEN8 E5-2670 SFF US SVR
0000002019 0000000001 HP SB DL360P GEN8 E5-2670 SFF
0000002024 0000000001 HP SERVERS SMART BUY PROLIANT
0000002025 0000000001 CISCO MULTIFEX TRUNK VOICE/WAN
0000002034 0000000001 PROLIANT DL360P GEN 8 1U RM X
0000002043 0000000001 RECOVERY 814-S BACKUP APPLIANC
0000002048 0000000001 HP PROLIANT DL360 GEN9 1U RM X
0000002067 0000000001 PO 051817 SERVER HARDWARE
0000002070 0000000001 PROLIANT DL360P GEN8 1U RM E5-
0000002072 0000000001 DELL POWER EDGER430 204TB 64GB
0000002075 0000000001 PO 053795 DATROO SERVERS
0000002080 0000000001 PO 053904 DATROO SERVER
0000002086 0000000001 DELL POWEREDGE R340 RACK MOUNT
0000002086 0000000002 TAX
0000002087 0000000001 POWEREDGE R430 SERVER
0000002087 0000000002 TAX
0000002087 0000000003 TAX
0000002087 0000000004 SHIPPING
0000002091 0000000001 300GB 15K RPM SAS 6GBPS 2.5IN
0000002093 0000000001 PO 055803 PC CONN CORP MOB SQL SERVER


    Category: SOFTWARE Software

0000000156 0000000001 AMEX-DISCOVERY ATTENDER SOFTWARE
0000000158 0000000001 DEFRAG SOFTWARE                                                                 8
0000000160 Case   21-10051-rlj7
           0000000001 GATE CYCLE Doc 30 Filed
                                 SOFTWARE         04/22/21   Entered 04/22/21 14:49:47   Page 21 of 137
0000000164 0000000001 NEW VISION
0000000166 0000000001 NEW VISION
0000000168 0000000001 NEW VISION
0000000170 0000000001 NEW VISION
0000000172 0000000001 NEW VISION
0000000174 0000000001 NEW VISION
0000000176 0000000001 NEW VISION
0000000178 0000000001 NEW VISION
0000000301 0000000001 PRIMAVERA SOFTWARE
0000000312 0000000001 PRIMAVERA
0000000412 0000000001 COMPUTER EQUIPMENT-MICROSTATION SOFTWARE
0000000418 0000000001 RESEARCH ENGINEERING SOFTWARE
0000000428 0000000001 MILLENNIUM FUNDING- SOFTWARE
0000000429 0000000001 ORANGE TECH- COMP SOFTWARE
0000000430 0000000001 ORANGE TECH- COMPUTER SOFTWARE
0000000432 0000000001 ECAD, INC.
0000000438 0000000001 SONICWALL, INC.
0000000443 0000000001 ORANGE TECH- COMPUTER SOFTWARE
0000000447 0000000001 EXECUTIVE SOFTWARE
0000000452 0000000001 BENTLEY SYSTEMS, INC. - SOFTWARE
0000000454 0000000001 PRIMAVERA - COMP SOFTWARE
0000000458 0000000001 3DS NET, INC.
0000000463 0000000001 T&G SOFTWARE
0000000466 0000000001 ORANGE TECH
0000000477 0000000001 EXECUTIVE SOFTWARE
0000000480 0000000001 SOFTWARE - DIGITAL RIVER
0000000482 0000000001 ECAD SOFTWARE
0000000491 0000000001 CDW-SYMANTEC
0000000492 0000000001 NEW VISION
0000000493 0000000001 NEW VISION
0000000494 0000000001 NEW VISION
0000000495 0000000001 NEW VISION
0000000496 0000000001 NEW VISION
0000000497 0000000001 NEW VISION
0000000498 0000000001 NEW VISION
0000000499 0000000001 NEW VISION
0000000500 0000000001 NEW VISION
0000000501 0000000001 NEW VISION
0000000502 0000000001 NEW VISION
0000000503 0000000001 NEW VISION
0000000504 0000000001 NEW VISION
0000000505 0000000001 NEW VISION
0000000506 0000000001 NEW VISION
0000000513 0000000001 NEW VISION
0000000515 0000000001 PRIMAVERA PLANNER/SCHEDULER
0000000516 0000000001 SONIC WALL-INTRUSION PREVENTION
0000000520 0000000001 COMPUTER- TRIBRIDGE (SOFTWARE)
0000000521 0000000001 NEW VISION
0000000522 0000000001 NEW VISION
0000000523 0000000001 RECLASS NEW VISION TO F/A
0000000524 0000000001 NEW VISION
0000000525 0000000001 NEW VISION
0000000526 0000000001 NEW VISION
0000000527 0000000001 NEW VISION
0000000528 0000000001 NEW VISION
0000000529 0000000001 NEW VISION
0000000530 0000000001 NEW VISION
0000000531 0000000001 NEW VISION
0000000532 0000000001 NEW VISION
0000000533 0000000001 NEW VISION                                                                     9
0000000534 Case   21-10051-rlj7
           0000000001 NEW VISION   Doc 30 Filed 04/22/21    Entered 04/22/21 14:49:47   Page 22 of 137
0000000535 0000000001 NEW VISION
0000000536 0000000001 NEW VISION
0000000537 0000000001 NEW VISION
0000000538 0000000001 NEW VISION
0000000539 0000000001 NEW VISION
0000000558 0000000001 SONIC WALL
0000000573 0000000001 CADWORX SOFTWRE
0000000590 0000000001 CDW - FIREWALL
0000000601 0000000001 CDW - NETSCREEN, FIREWALL
0000000618 0000000001 LAPTOP SOFTWARE
0000000628 0000000001 SONIC WALL
0000000633 0000000001 ADDITIONAL DISK SPACE FOR LEC 7
0000000638 0000000001 TAPE DRIVE, SERVER SOFTWARE
0000000639 0000000001 SYMATEC BACKUP FOR SERVER
0000000656 0000000001 PRIMAVERA
0000000661 0000000001 TWO PROCURVE 600'S
0000000669 0000000001 PROCURVE MGR PLUS
0000000701 0000000001 SYMANTEC BACUP FOR WINDOWS SERVER
0000000702 0000000001 SYMANTEC BACUP FOR WINDOWS SERVER
0000000710 0000000001 ECAD
0000000715 0000000001 SOFTWARE FROM ONE VISION FOR THE MULTIMEDIA CONF.
0000000716 0000000001 VIDOE CONF. EQUIP
0000000753 0000000001 PACKET SOFTWARE SHAPER 1700
0000000785 0000000001 SOFTWARE FROM MS & CDW
0000000788 0000000001 FORM PRO SOFTWARE
0000000800 0000000001 SOFTWARE FROM MS & CDW
0000000829 0000000001 ADO ACROBAT SOFTWARE
0000000854 0000000001 ACROBAT SOFTWARE
0000000863 0000000001 PAPERSAVE SOFTWARE
0000000864 0000000001 COMPUTER - SOFTWARE
0000000872 0000000001 COMPUTER-SOFTWARE
0000000873 0000000001 COMPUTER - SOFTWARE
0000000875 0000000001 COMPUTER-SOFTWARE
0000000894 0000000001 ADO ACROBAT SOFTWARE
0000000895 0000000001 COMPUTER- ROSETTA STONE SOFTWARE
0000000909 0000000001 MATHCAD
0000000915 0000000001 COMPUTER- SOFTWARE
0000000922 0000000001 CDW - REPLACEMENT FIREWALL
0000000925 0000000001 CDW - TAPE BACKUP AND SOFTWARE
0000000927 0000000001 CDW - TAPE BACKUP SOFTWARE
0000000947 0000000001 CDW - SERVER/SOFTWARE
0000001015 0000000001 SOFTWARE- TRAINING VIDEO
0000001016 0000000001 PAPERSAVE TRAINING
0000001025 0000000001 COMPUTER- SOFTWARE
0000001032 0000000001 COMPUTER- SOFTWARE
0000001253 0000000001 YEAR END VARIANCE
0000001401 0000000001 SHAREPOINT
0000001403 0000000001 MS OFFICE PRO PLUS 2007
0000001404 0000000001 QUEST SPOTLIGHT-SOFTWARE
0000001414 0000000001 TRIBRIDGE HOLDING - MOSS PILOT PROJECT (SHAREPOINT
0000001416 0000000001 COMPUTER- AVEPOINT INC (DOC AVE)
0000001417 0000000001 TRIBRIDGE HOLDING - MOSS PILOT PROJECT (SHAREPOINT
0000001420 0000000001 ADO ACROBAT STD 9
0000001434 0000000001 ADO ACROBAT STD 9
0000001457 0000000001 MS SLA SHAREPOINT CAL 2007 USE
0000001472 0000000001 MS SLA WIN SRV STD 2008
0000001479 0000000001 MS SLA SHAREPOINT UCAL 2007
0000001488 0000000001 PGP ENCRYPTION SOFTWARE FOR AC
0000001496 0000000001 ADO ACROBAT STD 9 WIN TR
0000001497 0000000001 MS SLA OFFICE PRO PLUS 2007                                                  10
0000001498 Case   21-10051-rlj7
           0000000001            Doc 30 Filed
                      DISCOVERY ATTENDER           04/22/21   Entered 04/22/21 14:49:47   Page 23 of 137
0000001503 0000000001 MS SLA OFFICE PRO PLUS 2007
0000001513 0000000001 MS SLA SHAREPOINT UCAL 2007
0000001514 0000000001 MS SLB FOREFRONT SEC SHAREPOIN
0000001529 0000000001 MS SLA SHARPOINT UCAL 2007
0000001532 0000000001 MS SLA SHAREPOINT UCAL 2007 -
0000001537 0000000001 TRIBRIDGE HOLDINGS LLC.
0000001541 0000000001 QUEST WEB PARTS SHAREPOINT STA
0000001556 0000000001 300181728E-ENESYS RS DATA EXTE
0000001560 0000000001 MS SLA WIN PRO 7
0000001563 0000000001 PIPE-FLO PROFESSIONAL
0000001566 0000000001 DESIGN II FOR WIDNOWS, WIN SIM INC.
0000001571 0000000001 MS SLA SHAREPOINT STD UCAL 201
0000001571 0000000002 TAX
0000001571 0000000003 MS SLA SHAREPOINT ENT UCAL 201
0000001571 0000000004 MS SLA FOREFRONT PROT SHARE P/
0000001592 0000000001 TAX
0000001593 0000000001 MS SLA WIN SRV STD 2008 R2
0000001594 0000000001 SYM BE AGT FR SYS EXP ESS
0000001595 0000000001 MS SLA SQL SRV ENT 2008 R2
0000001596 0000000001 MS SLA SQL UCAL 2008 R2
0000001597 0000000001 TAX
0000001598 0000000001 MS SLA SQL SRV ENT 2008 R2
0000001599 0000000001 MS SLA SQL UCAL 2008 R2
0000001600 0000000001 MS SLA WIN SRV STD 2008 R2
0000001601 0000000001 SYM BE AGT FR SYS EXP ESS
0000001621 0000000001 TAX
0000001622 0000000001 DISKEEPER 2010 SRV VL 20-49VL
0000001623 0000000001 ORACLE APPL SRVR ENT NUP
0000001624 0000000001 ORACLE INET APP SRV ENT NU +PE
0000001625 0000000001 ORACLE DATABASE STD ED.ONE NUP
0000001627 0000000001 SEBY927AV-0700A SMARTPIANT REF
0000001627 0000000002 TAX
0000001627 0000000003 SEBY933AV-0700A STANDARD DB FO
0000001627 0000000004 SEBY820AA-0800A SMARTPIANT
0000001627 0000000005 SRBY505AV-0403A SP FOUNDATION
0000001627 0000000006 SGBY218AV-0601A SMARTSKETCH 2
0000001627 0000000007 FREIGHT
0000001628 0000000001 2076519 MS SLA SQL SRV ENT 200
0000001658 0000000001 PRODUCT/SERVICE - 3950 STRUCTU
0000001660 0000000001 MS SLA + OFFICE PRO PLUS 2010
0000001674 0000000001 ADOBE PRO PREM
0000001781 0000000001 SOFTWARE PO#035903
0000001783 0000000001 SOFTWARE PO#036034
0000001784 0000000001 LAPTOP PO#036174
0000001801 0000000001 SOFTWARE PO#036333
0000001804 0000000001 SOFTWARE PO#036231
0000001822 0000000001 SOFTWARE PO #036922
0000001827 0000000001 SOFTWARE PO #037066
0000001897 0000000001 LOOKOUT SOFTWARE PO #038459
0000001898 0000000001 BLUEBEAM SOFTWARE PO#038341
0000001899 0000000001 QUANTUM SOFTWARE PO #038472
0000001900 0000000001 LICENSE PO #038545
0000001988 0000000001 MIR-ATA-PB MIGRATION SUITE FOR
0000002007 0000000001 PO 043974 NINTEX WORKFLOW & FORMS
0000002031 0000000001 PO 046698 SOC OF PIPING ENG & DES VIDEO TRAINING
0000002046 0000000001 PYPESERVER ENTERPRISE SOFTWARE
0000002057 0000000001 DATROO TECH PO 050346
0000002064 0000000001 ENTERPRISE PRO-PIPING
0000002065 0000000001 ELECTRICAL ESTIMATING CORE ENT
0000002097 0000000001 SOLVERIN01-DSLS-01                                                             11
0000002097 Case   21-10051-rlj7
           0000000002            Doc 30
                      SOLVERIN01-DSLS-01     Filed 04/22/21   Entered 04/22/21 14:49:47   Page 24 of 137
0000002097 0000000003 SOLVERIN01-DSLS-01
0000002097 0000000004 SOLVERIN01-DSLS-01
0000002097 0000000005 SOLVERIN01-DSLS-01
0000002097 0000000006 TAX
0000002097 0000000007 SOLVERIN01-DSLS-01
0000002097 0000000008 SOLVERIN01-DSLS-01
0000002097 0000000009 SOLVERIN01-DSLS-01
0000002100 0000000001 TRIBRIDGE PO 056205
0000002100 0000000002 TRIBRIDGE PO 056205
0000002100 0000000003 602 HOURS PROFESSIONAL CONSULT
0000002100 0000000004 PO 056205
0000002100 0000000005 602 HOURS PROFESSIONAL CONSULT
0000002100 0000000006 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000007 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000008 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000009 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000010 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000011 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000012 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002100 0000000013 602 HOURS PROFESSIONAL CONSULTING SERVICES
0000002102 0000000001 PO 056259 TRIBRIDGE
0000002102 0000000002 151 HOURS PROFESSIONAL CONSULT
0000002102 0000000003 PO 056259
0000002102 0000000004 151 HOURS PROFESSIONAL CONSULT
0000002102 0000000005 151 HOURS PROFESSIONAL CONSULT
0000002102 0000000006 35 HOURS PROFESSIONAL CONSULTING SERVICES
0000002102 0000000007 15 HOURS PROFESSIONAL CONSULTING SERVICES
0000002102 0000000008 15 HOURS PROFESSIONAL CONSULTING SERVICES
0000002102 0000000009 15 HOURS PROFESSIONAL CONSULTING SERVICES
0000002102 0000000010 15 HOURS PROFESSIONAL CONSULTING SERVICES
0000002104 0000000001 PO 057438
0000002104 0000000002 TX COMPTROLLER OF PUBLIC ACCTS
0000002105 0000000001 ORACLE LICENSE MIGRATION - PRIMAVERA P6
0000002105 0000000002 TAX
0000002107 0000000001 GULFSTREAM PO 058579
0000002107 0000000002 GULFSTREAM PO 058579
0000002107 0000000003 GULFSTREAM PO 058579
0000002126 0000000001 SEC UPG PLUS ADV ED (3-YEARS)
0000002179 0000000001 PARAMOUNT WORKPLACE REQUISITION




 Class:   EQUIPMENT Equipment
    Category: HEAVYEQUIP Heavy Equipment

0000002082 0000000001 2013 JLG TELESCOPING BOOM LIFT - TRANS FROM LECA
0000002125 0000000001 SET OF 10 TON TANK TURNING ROLLS
0000002127 0000000001 EQUIPMENT
0000002151 0000000001 REMLINGER VSB-700-70 VIBRATORY SCREENING BUCKET


    Category: OTHER Other Equipment

0000001078 0000000001 2003 POLARIS RANGER 4X4
0000001081 0000000001 JOHN DEERE
0000001084 0000000001 SHOP DRIVES W/ IDLER
0000001085 0000000001 STRESS RELIEF CHART RECORDER
0000001088 0000000001 UDC CONTROLLERS W/WIRING DIAPH
0000001089 0000000001 UNIT 170442, UNIT 047719, UNIT 128551
0000001112 0000000001 ELECT AIR COMPRESSOR
0000001134 0000000001 HOT TAP MACHINE
0000001201 0000000001 GREENLEE TUGGER                                                                12
0000001211 Case   21-10051-rlj7
           0000000001           Doc
                      GAS MONITOR        30 Filed 04/22/21   Entered 04/22/21 14:49:47   Page 25 of 137
0000001237 0000000001 JULY VISA AIR PUMP DIAPHRAM
0000001238 0000000001 5 TON CRANES
0000001239 0000000001 OMI HOIST PARTS- CRANE REPAIR
0000001240 0000000001 DAVID HATTEN- 25 MOTORLA RADIOS
0000001241 0000000001 ELECTRIC BEARING HEATER WITH ROTATING SHAFT
0000001242 0000000001 ELECTRIC BEARING HEATER WITH ROTATING SHAFT
0000001244 0000000001 2 40' STORAGE CONTAINERS
0000001245 0000000001 AIRLESS SPRAYER- FAB SHOP
0000001247 0000000001 5 TON CRANES
0000001248 0000000001 GRAINGER- THREADING MACHINE
0000001249 0000000001 5 TON CRANES - OMI SEE JE #005456
0000001427 0000000001 C&C PROFESSIONAL - MONORAILS
0000001475 0000000001 TIMEMASTER TF PER EMPLOYEE
0000001518 0000000001 TM500 - TIMECLOCK BAR CODE REA
0000001524 0000000001 65X160 TRUSS ARCH BUILDING
0000001552 0000000001 INVOICE 029332 DATED 3/24/2010
0000001553 0000000001 IQ1000 TIME CLOCK W/BAR CODE R
0000001648 0000000001 DS2000-CC DELTA STANDARD CAM-C
0000001773 0000000001 MODULE PEDESTALS
0000001774 0000000001 PMI MACHINE PO#035356
0000001972 0000000001 P2 BARCODING SYSTEM
0000001981 0000000001 CONEXUS SHIPPING CONTAINER
0000001998 0000000001 VE-810 ENGRAVER PO 042174
0000002009 0000000001 NEW 40' WIDE X 60' LONG X 13"
0000002013 0000000001 15TE20-P-460 IR 20-HP 120 GALL
0000002020 0000000001 RT26092 1224 CMPL NPT 1/2-4" 1
0000002021 0000000001 40' WIDE X 120' LONG X 13' FUL
0000002023 0000000001 MC90XXG COL... SCANNER EQUIPME
0000002032 0000000001 REFURBISHED REFRIGERANT STYLE
0000002036 0000000001 NEW 40' WIDE X 60' LONG X 13'
0000002042 0000000001 60 TON AIR CONDITIONER W/4 PIE
0000002044 0000000001 SANDBLAST SYSTEM
0000002045 0000000001 TULSA P2BARCODING SYSTEM
0000002047 0000000001 TULSA FAB EQUIPMENT
0000002059 0000000001 60 TON AIR CONDITIONER - RECO
0000002106 0000000001 H&H GOLF CARTS INC- MOWER
0000002135 0000000001 1" DRIVE DIGITAL PNEUMATIC TORQUE MACHINE; SINGLE SPEED
0000002154 0000000001 40' CONNEX ET40VZS3287
0000002155 0000000001 40' CONNEX ES40RZS3097
0000002156 0000000001 40' CONNEX ET40AFZS4188
0000002176 0000000001 SQ SQ CLASSIC ARCHIT
0000002177 0000000001 SQ SQ CLASSIC ARCHIT
0000002178 0000000001 GREEN KEYTAB


    Category: PIPEWORK Pipework Equipment

0000001127 0000000001 PIPE END PREP MACH
0000001137 0000000001 PIPE BEVELING MACH
0000001138 0000000001 PIPE BEVELING MACH
0000001139 0000000001 PIPE BEVELING MACH
0000001140 0000000001 PIPE BEVELING MACH
0000001141 0000000001 PIPE BEVELING MACH
0000001142 0000000001 PIPE BEVELING MACH
0000001189 0000000001 IRONWORKER
0000001208 0000000001 PIPE BENDER
0000001474 0000000001 PIPEWORX WELDING SYSTEM
0000001504 0000000001 CNC FULL AUTOMATIC TUBE BENDIN
0000001522 0000000001 CNC FULL AUTOMATIC TUBE BENDIN
0000001637 0000000001 RIDGID 535 115V PIPE THREADER
0000002022 0000000001 WATTS PIPE CUTTING MACHINE, M
                                                                                                    13
0000002040 Case   21-10051-rlj7
           0000000001            Doc TEMPERATURE
                      PROHEAT 35 WITH 30 Filed 04/22/21
                                                  CO              Entered 04/22/21 14:49:47   Page 26 of 137
0000002041 0000000001 DIGITAL RECORDER 6 CHANNEL PIPEWORK EQUIPMENT
0000002066 0000000001 RTC93287 THREADING MACHINE 1/2
0000002124 0000000001 3D HW LS FOCUS S150


    Category: RADIO Radio

0000001250 0000000001 RADIOS
0000001251 0000000001 RADIOS
0000001442 0000000001 MOTOROLA RADIOS (6)
0000001455 0000000001 MOTOROLA HT750 UHG RADIO USED
0000001688 0000000001 MOTOROLO TWO WAY RADIO
0000001944 0000000001 MOTOROLA HT750 UHF_INTRINSICAL
0000001953 0000000001 MOTOROLA HT750
0000001954 0000000001 MOTOROLA HT 750
0000001955 0000000001 MOTOROLA HT750
0000001956 0000000001 MOTOROLA HT750
0000001957 0000000001 MOTOROLA HT750
0000001958 0000000001 MOTOROLA HT750
0000001959 0000000001 MOTOROLA HT750
0000001960 0000000001 MOTOROLA HT750
0000002004 0000000001 MOTOROLA HT750 UHF AAH25RDC9AA
0000002051 0000000001 MOTOROLA HT750 RECONDITIONED R
0000002052 0000000001 RECONDITIONED RADIOS INV# 3501
0000002053 0000000001 RADIOS MOTOLOA HT750 REBUILT
0000002094 0000000001 PO 055673 MOTOROLA HT750 RADIOS
0000002094 0000000002 TX COMPTROLLER OF PUBLIC ACCTS
0000002144 0000000001 MOTOROLA HT750 UHF AAH25RDC/SDC9AA2AN RADIO & ANTENNA.


    Category: TOOLS Tools

0000001125 0000000001 DRILL PRESS
0000001129 0000000001 9 END GRINDER
0000001130 0000000001 5 END GRINDER
0000001152 0000000001 LG BANDSAW
0000001191 0000000001 LASER INSTRUMENT
0000001234 0000000001 J LOMAX TOOLS
0000001549 0000000001 BAND SAW & BLADES
0000001550 0000000001 HHP HIGH SPEED BEVELING KIT
0000001641 0000000001 H2 MONITORS REF INV#D102072
0000002056 0000000001 METAL CUTTING BAND SAW TULSA FAB
0000002109 0000000001 SULLAIR SHOPTEK COMPRESSOR
0000002128 0000000001 TRIMBLE RTS873 ROBOTIC TOTAL STATION
0000002136 0000000001 MAT03-0104-000 SADDLE MACHINE 4SA 20"-26"
0000002149 0000000001 GL722 DUAL SLOPE LASER


    Category: TRAILER Trailer

0000001075 0000000001 14' ENCLOSED TRAILER
0000001076 0000000001 1998 26' TRAVEL TRAILER
0000001079 0000000001 2003 WANDERER TRAVEL TRAILER
0000001082 0000000001 MAXEY 12' SINGLE AXLE TRAILER
0000001083 0000000001 MAXEY 18' UNTILITY TRAILER
0000001086 0000000001 TRAILER
0000001087 0000000001 TWO TRAILERS
0000001090 0000000001 WELD TEST TRAILERS
0000001102 0000000001 CALIBRATION TRAILER
0000001212 0000000001 TRAILER
0000001215 0000000001 TRAILER
0000001216 0000000001 TRAILER
0000001217 0000000001 TRAILER
0000001218 0000000001 TRAILER                                                                            14
0000001223 Case   21-10051-rlj7
           0000000001 TRAILER     Doc 30 Filed 04/22/21       Entered 04/22/21 14:49:47   Page 27 of 137
0000001224 0000000001 TRAILER
0000001225 0000000001 TRAILER
0000001227 0000000001 TRAILER
0000001235 0000000001 TRAILER
0000001236 0000000001 STEPHENVILLE TRAILER
0000001243 0000000001 TRAILER
0000001246 0000000001 G- NECK TRAILER
0000001547 0000000001 WATER TRLR 63925
0000001547 0000000002 WATER TRLR 63925
0000001548 0000000001 WATER TRLR 64585
0000001861 0000000001 33' DUAL AXEL, 20,000LB GOOSEN
0000002084 0000000001 2013 BIG TEX GOOSENECK TRAILER - TRANS FROM LECA
0000002085 0000000001 2013 TRAIL TECH TRAILER - TRANS FROM LECA


    Category: TRUCK Truck

0000001192 0000000001 1999 FORD PU
0000001195 0000000001 1999 FORD F150
0000001203 0000000001 1999 FORD F150
0000001206 0000000001 1999 FORD F150
0000001207 0000000001 1999 FORD F150


    Category: VAN Van

0000001110 0000000001 STORAGE VAN


    Category: WELDING Welding Equipment

0000001185 0000000001 MILLER WELDING MACHI
0000001186 0000000001 MILLER WELDING MACHI
0000001199 0000000001 MILLER WELDERS
0000001204 0000000001 WELDING MACHINE
0000001209 0000000001 WELDING MACHINE
0000001219 0000000001 WELDER
0000001228 0000000001 WELDER
0000001229 0000000001 WELDER
0000001232 0000000001 WELDER
0000001233 0000000001 WELDER
0000001438 0000000001 PROHEAT INDUCTION HEATING UNIT
0000001439 0000000001 PROHEAT INDUCTION HEATING UNIT
0000001440 0000000001 PROHEAT INDUCTION HEATING UNIT
0000001441 0000000001 PROHEAT INDUCTION HEATING UNIT
0000001453 0000000001 KRAUTKRAMER MIC 10 PORTERABLE HARDNESS TESTER
0000001564 0000000001 USED LIBURDI ORBITAL WELDING MACHINES
0000001687 0000000001 WELDER POSITIONER
0000001771 0000000001 PLASMA CUTTER PO#035439
0000001991 0000000001 WELDERS/EQUIPMENT PO 041451
0000001991 0000000002 WELDERS/EQUIPMENT PO 041451
0000001991 0000000003 WELDERS/EQUIPMENT PO 041451
0000001991 0000000004 WELDERS/EQUIPMENT PO 041451
0000001991 0000000005 WELDERS/EQUIPMENT PO 041451
0000001991 0000000006 WELDERS/EQUIPMENT PO 041451
0000001991 0000000007 WELDERS/EQUIPMENT PO 041451
0000001991 0000000023 WELDERS/EQUIPMENT PO 041451
0000001992 0000000001 WELDERS/EQUIPMENT PO 041472
0000002029 0000000001 PO 046464 WELDING EQUIP
0000002030 0000000031 PO 046465 WELDING EQUIP
0000002030 0000000032 PO 046465 WELDING EQUIP
0000002030 0000000038 PO 046465 WELDING EQUIP
0000002030 0000000039 PO 046465 WELDING EQUIP
0000002030 0000000040 PO 046465 WELDING EQUIP                                                        15
0000002030 Case   21-10051-rlj7
           0000000041            Doc 30
                      PO 046465 WELDING   Filed
                                        EQUIP     04/22/21     Entered 04/22/21 14:49:47   Page 28 of 137
0000002030 0000000042 PO 046465 WELDING EQUIP




 Class:   FURNITURE Furniture
    Category: CHAIR Chair

0000000136 0000000001 10 SIDE CHAIRS
0000000140 0000000001 LAZYBOY 92214 SIDE CHAIR
0000000141 0000000001 OFS SIDE CHARS1- ASHLEY, 1-DOM
0000000149 0000000001 4 CHAIR MATTS
0000001757 0000000001 CHAIR PO#035293
0000001802 0000000001 CHAIRS
0000002049 0000000001 ALERV44LS10C SWIVEL TILT CHAIR


    Category: DESK Desk

0000000114 0000000001 DESKS, HUTCH, CHAIR, FILE, ETC
0000000121 0000000001 O'KELLEY-OFFICE DESK & HUTCH
0000000124 0000000001 O'KELLEY- OFFICE DESK , HUTCH & CHAIRS, ETC.
0000000125 0000000001 O'KELLEY- OFFICE DESK, HUTCH & FILE DRAWER
0000000128 0000000001 CITIZENS GLASS-GLASS TOP FOR DESK
0000000133 0000000001 HUTCH DESK
0000000135 0000000001 SET DESK CRED-HUTCH- 2 DR LATERAL
0000000137 0000000001 2 NATIONAL SETS DESK, CRED. HUTCH
0000000143 0000000001 3 HON 30' 4 DR GREY
0000000144 0000000001 HON 30' 2 DR BLK
0000000152 0000000001 O'KELLY- 2 DESKS AND DRAWERS
0000001758 0000000001 DESK PO#035293
0000001777 0000000001 FURNITURE PO#035710


    Category: FILE File

0000001759 0000000001 FILE PO#035293


    Category: OTHER Other

0000000076 0000000001 IRVING OFFICE FURNITURE
0000000108 0000000001 WORKSTATIONS
0000000109 0000000001 SHELVING
0000000110 0000000001 4TH FLOOR FURNITURE & ASSEMBLY
0000000111 0000000001 PANEL-4TH FLOOR
0000000112 0000000001 ALUMINUM BLINDS-FOURTH FLOOR
0000000113 0000000001 4TH FLOOR -2 WRKSTNS/CHAIRS
0000000115 0000000001 PANEL-3RD FLOOR
0000000116 0000000001 ASSEMBLY/INSTALL-3RD FLOOR
0000000117 0000000001 ALUMINUM BLINDS-THIRD FLOOR
0000000118 0000000001 ALUMINUM BLINDS-SECOND FLOOR
0000000119 0000000001 FURNITURE ASSEMLY/INSTALL
0000000120 0000000001 TWO WORKSTATIONS/CHAIRS
0000000122 0000000001 O'KELLEY - WIDITH 66' HIGH PANEL
0000000123 0000000001 O'KELLEY- CHAIRS & WORKSTATION
0000000126 0000000001 THOMAS EVERETTS
0000000127 0000000001 COUNTRY MOVING OF ABILENE
0000000129 0000000001 DAVID WALDROP INDUS.-SOFA, TABLES, MIRROR,ETC.
0000000130 0000000001 DAVID WALDROP INDUS-TRUCK, LOADING,UNLOADING
0000000131 0000000001 NORTHPOINT OFFICE FURNITURE
0000000132 0000000001 OKELLEY OFFICE FURNITURE
0000000134 0000000001 O'KELLEY FURNITURE
0000000138 0000000001 NATIONAL 2 DR LAT FILE
0000000139 0000000001 5 NATIONAL BOOKCASES 60
0000000142 0000000001 WOOLLINEN 030-080                                                               16
           Case 21-10051-rlj7 Doc 30 Filed 04/22/21
0000000147 0000000001 WOODHAVEN SPACE
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0000000148 0000000001 GLOBAL
0000000150 0000000001 SPANISH COLONIAL CHEST
0000001460 0000000001 IRVING OFFICE FURNITURE
0000001469 0000000001 72" CHERRY BOOKCASES
0000001760 0000000001 OTHER PO#035293
0000001891 0000000001 CONTBLE/BOARD/BUFFET PO037530
0000002005 0000000001 21 84" PANELS & CONNECTORS
0000002026 0000000001 FURNITURE FOR HOUSTON OFFICE
0000002054 0000000001 FURNITURE TULSA FAB PO 048161
0000002095 0000000001 PO 053502 RANDY LIPPS FURNITURE
0000002095 0000000002 TAX
0000002153 0000000001 BOW FRONT DESK SHELL W/ RIGHT EXTENSION-TYLER OFFICE
0000002173 0000000001 FF PEDESTAL IN GREY


    Category: TABLE Table

0000000145 0000000001 COASTER 8' TABLE
0000000146 0000000001 COASTER 42
0000000151 0000000001 CONSOLE TABLE
0000001761 0000000001 TABLE PO#035293




 Class:   LANDIMP Land Improvements
    Category: ELECT IMPR Electrical Improvements

0000001795 0000000001 ELECTRICAL IMPROVEMENTS


    Category: FENCE Fence

0000001643 0000000001 FENCE- MILD FENCE COMPANY
0000001791 0000000001 CHAINLINK WITH BARBWIRE


    Category: GRAD LAND Grading Land

0000001708 0000000001 MONTANA YARD WORK SURVEYS
0000001772 0000000001 GRADING LAND


    Category: ROAD ACCES Roadway Access

0000001796 0000000001 ROADWAY ACCESS


    Category: SIGN Sign

0000001718 0000000001 ALL STATE SIGNS


    Category: WATER WELL Water Well

0000001742 0000000001 WATER LINE
0000001792 0000000001 SITE SEPTIC SYSTEM
0000001793 0000000001 WATER WELL




 Class:   LSHLDIMP Leasehold Improvements
    Category: ADDITION Building Addition

0000001507 0000000001 WEST SHOP E BLDG EXPANSION
0000001727 0000000001 MODSPACE FURNITURE PO 033418
0000001732 0000000001 UPGRADE SUPPORT FOR 6 PLEX OFFICE BUILDING


    Category: COMMUNICAT Communications Equipment
                                                                                                   17
0000001721 Case   21-10051-rlj7
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                      PO#034517 CABELING                    Entered 04/22/21 14:49:47   Page 30 of 137
0000001942 0000000001 4 VOICE AND DATA DROPS LABOR &
0000001982 0000000001 LABOR & MATERIALS FOR 59 VOICE
0000001993 0000000001 LABOR, MATERIALS, EQUIPMENT, E
0000001994 0000000001 CISCO SX20 QUICK SET HD, NPP
0000002037 0000000001 195 CAT6 CABLE RUNS/DROPS, 5 T
0000002038 0000000001 AUDIO/VISUAL MISC CABLES, CONN


    Category: OTHER Other

0000001570 0000000001 ONE (1) 5 TON LIEBERT HVAC
0000001640 0000000001 NOV HILL DIRT WORK
0000001670 0000000001 HAMMER HEAD IMPROVEMENT
0000001790 0000000001 LEASEHOLD IMPR PO#035999
0000001803 0000000001 ELECTRICAL WORK FOR GENERATOR 1686
0000001818 0000000001 FENCE
0000002003 0000000001 REPLACE CHILLER @ S 1ST WITH 7


    Category: REMODEL Remodel

0000001252 0000000001 KEYSTONE CENTER - SPACE RENOVATION JE #005157
0000001506 0000000001 SOUTH SHOP BLDG IMPROVEMENT
0000001508 0000000001 CAP CONSTRUCTION STORGE IMPROVEMENT
0000001523 0000000001 LAUREN FLAG POLES AT SHOP
0000001919 0000000001 SOUTH SHOP INSULATION
0000001990 0000000001 FAB SHOP SEWER SYSTEM
0000002002 0000000001 FURNISH, INSTALL ROLL CARPET O
0000002015 0000000001 EAST SHOP ELECTRIC IMPROVEMENTS
0000002099 0000000001 FAB SHOP BEAMS AND RAILS
0000002099 0000000002 TAX ON PO 056831-BEAMS


    Category: TULSAFAB BUILDING & MACHINERY TULSA FA

0000002060 0000000001 SIGNS TULSA OK LOCATION
0000002071 0000000001 PO 052153 STEEL FOR MOUNTING CRANES
0000002073 0000000001 MODIFY CURRENT OVERHEAD CRANE




 Class:   OFFICEEQ Office Equipment
    Category: COMMUNICAT Communications Office Equip

0000001033 0000000001 THORNE ELECTRONICS
0000001039 0000000001 TELEPHONE SYSTEMS
0000001041 0000000001 TELEPHONE
0000001046 0000000001 TELEPHONE SYSTEM
0000001048 0000000001 6 TELEPHONES
0000001050 0000000001 TELEPHONE SYSTEM
0000001053 0000000001 TELEPHONE
0000001054 0000000001 TELECOM
0000001058 0000000001 THORNE ELECTRONICS
0000001059 0000000001 AVAYA PHONES
0000001060 0000000001 TELEPHONE
0000001063 0000000001 KENNY WALTERS-PHONE SYSTEM
0000001064 0000000001 TELEPHONE
0000001065 0000000001 TELEPHONE
0000001066 0000000001 TELEPHONE
0000001067 0000000001 METROLINE DIRECT
0000001068 0000000001 TANDBERG (VIDEO CONFERENCE EQUIP)
0000001069 0000000001 TELEPHONE
0000001070 0000000001 TELECOM UNLIMITED
0000001071 0000000001 TELEPHONE SYSTEM FAB SHOP
0000001425 0000000001 AVAYA 5420                                                                   18
0000001426 Case   21-10051-rlj7
           0000000001 AVAYA 5420   Doc 30 Filed 04/22/21     Entered 04/22/21 14:49:47   Page 31 of 137
0000001686 0000000001 3 PHASE GENERATOR W/ MONICO MONITORING
0000001756 0000000001 UPGRADE PHONE SYSTEM
0000001789 0000000001 PHONE SETS PO#036247
0000001977 0000000001 PHONES PO #041361
0000001978 0000000001 PHONES PO #041464
0000001979 0000000001 PHONES PO #041359
0000002174 0000000001 (35) NETWORK CABLING/AUDIO VISUAL SETUP/ELECTRICAL INSTALL


    Category: COPIER Copier

0000001057 0000000001 ERVIN LEASING
0000001557 0000000001 XEROX 510 DP SYSTEM SERIAL # P


    Category: OTHER Other Office Equipment

0000001040 0000000001 IBM 1500 TYPEWRITER
0000001042 0000000001 TYPEWRITER
0000001043 0000000001 OFFICE EQUIP
0000001045 0000000001 REFRIGERATOR
0000001049 0000000001 ICE MAKER
0000001051 0000000001 FAB SHOP ICE MAKER
0000001061 0000000001 NEC NP60 XGA 3000- PROJECTOR
0000001072 0000000001 ACME SIGN
0000001073 0000000001 ACME SIGN
0000001074 0000000001 DAVID WALFROP - 2 MAP PRINTS
0000001528 0000000001 ELMO TT-02RX W/PROJ
0000001536 0000000001 SHREDDER FOR HR # 215042 - 02-
0000001689 0000000001 AV EQUIPMENT
0000002096 0000000001 DESNO / MOVINCOOL / OFFICE PRO
0000002096 0000000002 FLEXIBLE DUCT KIT (LAY45820-00
0000002096 0000000003 FREIGHT
0000002096 0000000004 TAX


    Category: POSTAGE Postage machine

0000001036 0000000001 POSTAGE MACHINE


    Category: PRINTER Printer

0000001062 0000000001 TOSHIBA TLP-X3000U




 Class:   VEHICLES Vehicles
    Category: EQUIPMENT Equipment

0000000032 0000000001 2 AIR MONITORS - LONE STAR SAFETY AND SUPPLY
0000000034 0000000001 KEC TINY DRIVE- KEVINS EQUIPMENT CO
0000000036 0000000001 MONARCH INST- LASER ALIGNMENT TOOL
0000000063 0000000001 KUBOTA L4400 TRACTOR
0000001661 0000000001 JLG T HNDLR 6000LB-G6-42A
0000002061 0000000001 TOYOTA MODEL 8FGCSU20, INTERNA
0000002062 0000000001 TOYOTA FORKLIFT ID 13433


    Category: TRAILER Trailer

0000000007 0000000001 20' X 8' STORAGE TRAILER
0000000021 0000000001 UTILITY TRAILER WITH REAR RAMP
0000001617 0000000001 CARGO TRAILER
0000001618 0000000001 CARGO TRAILER
0000001638 0000000001 CM - SS PICK UP BED ID# 67142
0000001703 0000000001 CM SS TRUCK BED 86" X 84" X 58
                                                                                                    19
0000001726 Case   21-10051-rlj7
           0000000001 GOOSENECK Doc  30PO#033831
                                TRAILER Filed 04/22/21      Entered 04/22/21 14:49:47   Page 32 of 137
0000001769 0000000001 TRAILER PO#035841
0000002069 0000000001 PO 051313 53 FOOT TOOL TRLRS
0000002110 0000000001 TRAILER TRANSPORT CONTAINERS
0000002129 0000000001 P634282 - 1979 STRI P63 TRAILER
0000002129 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002130 0000000001 P634369 - 1979 STRI P63 TRAILER
0000002130 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002131 0000000001 151959L - 1978 BUDD 151 TRAILER
0000002131 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002132 0000000001 S735198 - 1973 BRWN S73 TRAILER
0000002132 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE, TX
0000002133 0000000001 1102590 - 1982 THEU ITA TRAILER
0000002133 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE, TX
0000002134 0000000001 67177 - 1970 GIND 671 TRAILER
0000002134 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE, TX
0000002137 0000000001 RICHARD J BOOKS - 40 FT TRAILER
0000002146 0000000001 BS CAPITAL ASSET - TRAILER
0000002146 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002147 0000000001 BS CAPITAL ASSET - TRAILER
0000002147 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002148 0000000001 BS CAPITAL ASSET - TRAILER
0000002148 0000000002 TRANSPORT FROM JACKSONVILLE,FL TO ABILENE,TX
0000002163 0000000001 TRAILER - F2022625
0000002164 0000000001 TRAILER - TS25W12
0000002165 0000000001 TRAILER - G2086184
0000002166 0000000001 GOOSE NECK WIRE TRAILER-K7035589
0000002167 0000000001 WIRE TRAILER - H1002035
0000002168 0000000001 WIRE TRAILER - G1004410


    Category: VEHICLE Vehicle

0000000001 0000000001 DYNAMICS ACTIVITY - FORD
0000000002 0000000001 TIMBERLINE MOVED OVER - FORD
0000000003 0000000001 2006 DODGE PICKUP
0000000022 0000000001 08 2500 DODGE-BLACK #101
0000000023 0000000001 LAWERENCE HALL CHEV-MAZDA
0000000024 0000000001 STULL PICKUP #80
0000000026 0000000001 FORD F-250
0000000027 0000000001 2001 FORD EXPLORER
0000000029 0000000001 2006 FORD PICKUP
0000000030 0000000001 2006 FORD F150
0000000033 0000000001 DODGE PICKUP
0000000035 0000000001 1993 BUS
0000000042 0000000001 2004 FORD F-150
0000000043 0000000001 2002 DODGE PICKUP
0000000048 0000000001 2006 FORD F150
0000000050 0000000001 2005 GMC 3500 PICKUP
0000000053 0000000001 FORD F150
0000000056 0000000001 2006 FORD PICKUP
0000000058 0000000001 2006 FORD PICKUP
0000000061 0000000001 2005 FORD F-150 PICKUP
0000000064 0000000001 94 FREIGHTLINER TRUCK #1FUYDZYB3RH856756
0000000065 0000000001 97 DORSEY TRAILER #1DTY
0000000066 0000000001 2008 FORD F150 SERIES
0000000067 0000000001 2008 FORD F150 SERIES
0000001430 0000000001 2009 FORD F-150 SUPERCAB
0000001431 0000000001 2009 FORD F-150 SUPERCAB
0000001480 0000000001 1992 FORD F350 CLASS 3 (GVW 10
0000001481 0000000001 2002 FORD E350 CLASS 1 (GVW 0
0000001668 0000000001 EXTENDED WARRANTY FOR ASSET 1667
                                                                                                   20
0000001779 Case   21-10051-rlj7
           0000000001            Doc 30
                      BUS 66 PASSENGER   Filed 04/22/21
                                       PO#035650              Entered 04/22/21 14:49:47   Page 33 of 137
0000001884 0000000001 2012 FORD XLT PO #038049
0000001885 0000000001 2011 F-150 1FTFX1EF3BFB324
0000001904 0000000001 2013 F-150 1FTFW1CF1DFB72474
0000001910 0000000001 2013 F-150 4X4   VIN 1FTFX1E
0000001922 0000000001 2013 F-150 4X4   VIN 1FTFX1E
0000001985 0000000001 2014 F-250 1FT7W2BT4EEA15515
0000001997 0000000001 2006 FREIGHTLINER VIN#22243
0000001999 0000000001 2011 FORD F150 CREW CAB 1FTFW1CF0CFA14156
0000002000 0000000001 2011 FORD F150SCAB 4X4 1FTFX1EFX6KE18131
0000002001 0000000001 2010 FORD F150 SCAB 1FTFX1CF38FA14972
0000002010 0000000001 2014 F-150 VIN 1FTFW1EF5EKE923
0000002050 0000000001 2005 OTTAWA MMANDO 30
0000002083 0000000001 2014 FORD 350 4X4 DUALLY - TRANS FROM LECA
0000002108 0000000001 LAWRENCE HALL FORD - 2017 F250 46836
0000002160 0000000001 FORD E350 PASSENGER VAN-A85616
0000002161 0000000001 FORD E350 PASSENGER VAN-A85779
0000002162 0000000001 FORD E350 PASSENGER VAN-A50536
0000002170 0000000001 FORD E350 PASSENGER VAN-A75035
0000002171 0000000001 FORD E350 PASSENGER VAN-A99846
0000002172 0000000001 FORD E350 PASSENGER VAN-B00470




                                                                                                     21
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      LEC Equipment on Enterprise Jobsite

Item                      Description
Semi Trailer 1            White, South Trailer, "Lincoln" Label
Semi Trailer 2            Blue Color, Window Unit AC on end of trailer
Semi Trailer 3            Grey Color, "Pac-Van" Label
Office Trailer            "Caddell" Label
Conex 1                   Red Color
Conex 2                   White Color
Covered Hauling Trailer   White
Gooseneck Trailer         Black
Flatbed Trailer           Black
Flatbed Truck             Dodge Ram
Flatbed Truck             Freightliner
Truck                     Ford Pickup
Jobsite Toolboxes         Misc sizes/colors.
Misc materiel             Misc material/equipment around the trailers. Various Photos
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 Fill in this information to identify the case:

 Debtor name          Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF TEXAS

 Case number (if known)              21-10051-rlj
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                        Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim                 Value of collateral
                                                                                                                                                   that supports this
                                                                                                                   Do not deduct the value         claim
                                                                                                                   of collateral.

 2.1
        Lonestar Technology
        Private Limited                               Describe debtor's property that is subject to a lien                $528,654.00                      Unknown
        Creditor's Name                               Intellectual property, designs, drawings,
        Office No. 4B-4C,                             native files, and other work product relating
        Cerebrum-B3                                   to Tata project.
        Level 6, Kalyani Nagar
        Pune, Maharashtra 411006
        IN
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




 2.2
        Markel Surety d/b/a                                                                                                                  *
        SureTec Indemnity Co                          Describe debtor's property that is subject to a lien            $10,000,000.00                  $7,168,144.00
        Creditor's Name                               90 days or less: Receivables from projects                       (per demand)
        1330 Post Oak Blvd., Suite
        1100
        Houston, TX 77056
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 5
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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)    21-10051-rlj
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       1. Markel Surety d/b/a
       SureTec Indemnity Co
       2. Origin Bank

       Markel Surety d/b/a
 2.3                                                                                                                                           $2,028,735.00
       SureTec Indemnity Co                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Over 90 days old: Receivables from projects.
       1330 Post Oak Blvd., Suite
       1100
       Houston, TX 77056
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       1. Markel Surety d/b/a
       SureTec Indemnity Co
       2. Origin Bank

 2.4   Origin Bank                                    Describe debtor's property that is subject to a lien                 $8,024,932.33       $7,168,144.00
       Creditor's Name                                90 days or less: Receivables from projects
       9805 Katy Freeway, Suite
       200
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.2

 2.5   Origin Bank                                    Describe debtor's property that is subject to a lien                                     $2,028,735.00


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 5
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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)   21-10051-rlj
              Name

       Creditor's Name                                Over 90 days old: Receivables from projects.
       9805 Katy Freeway, Suite
       200
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.3

 2.6   Origin Bank                                    Describe debtor's property that is subject to a lien                                    $123,282.00
       Creditor's Name                                Desktop and laptop computers, servers,
                                                      printers, copiers, a/v equipment, hardware,
                                                      paper shredder, postage machine, software,
                                                      software licenses, power supply, telephones,
       9805 Katy Freeway, Suite                       radios, typewriter, cisco system, cabling. See
       200                                            Schedule A.B (inventor
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7   Origin Bank                                    Describe debtor's property that is subject to a lien                                    $659,364.00
       Creditor's Name                                Tools, welding equipment, piping equipment,
                                                      fork-lift, heavy equipment, air compressors,
       9805 Katy Freeway, Suite                       sand blasters, icemakers, refrigerator. See
       200                                            Schedule A.B (inventory) for detail.
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 5
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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)   21-10051-rlj
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.8   Origin Bank                                    Describe debtor's property that is subject to a lien                                          $0.00
       Creditor's Name                                Origin Bank - Checking - Payroll Account
       9805 Katy Freeway, Suite
       200
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   Origin Bank                                    Describe debtor's property that is subject to a lien                                          $0.00
       Creditor's Name                                Origin Bank - Operating Account
       9805 Katy Freeway, Suite
       200
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     Origin Bank                                    Describe debtor's property that is subject to a lien                                          $0.00
       Creditor's Name                                Origin Bank - Tax Account - Checking
       9805 Katy Freeway, Suite
       200
       Houston, TX 77024
       Creditor's mailing address                     Describe the lien

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 5
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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)       21-10051-rlj
              Name


                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.1
 1      Origin Bank                                   Describe debtor's property that is subject to a lien                                                  $0.00
        Creditor's Name                               Origin Bank - Benefits Account
        9805 Katy Freeway, Suite
        200
        Houston, TX 77024
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $18,553,586.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       33

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Penn Huston
         MouerHuston                                                                                           Line   2.4
         349 Heights Boulevard
         Houston, TX 77007

         R. Stephen Ressling
         Chernosky, Smith, Ressling & Smith PLLC                                                               Line   2.4
         3664 Walnut Bend Ln., Bldg. B
         Houston, TX 77042-4851




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          21-10051-rlj
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,135.00        $2,135.00
           ABEL C NAJERA CORRAL                                      Check all that apply.
           11460 ARDELLE AVE                                          Contingent
           EL PASO, TX 79936                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,440.00        $2,440.00
           ADAM BENAVIDES                                            Check all that apply.
           241 NW AVE F                                               Contingent
           HAMLIN, TX 79520                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,440.00    $2,440.00
          AL SANCHEZ                                                 Check all that apply.
          11906 TEANECK DR                                            Contingent
          HOUSTON, TX 77089                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $314.50    $314.50
          ALEJANDRO BEJAR                                            Check all that apply.
          15517 AIKEN LN                                              Contingent
          HOUSTON, TX 77032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          ALONZO R MORALES                                           Check all that apply.
          2605 TORONTO AVE                                            Contingent
          MCALLEN, TX 78503                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $8,769.60    $8,769.60
          ANDREW I COLEMAN                                           Check all that apply.
          6361 MANCHESTER CT                                          Contingent
          TYLER, TX 75703                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,600.00    $2,600.00
          ARMANDO A TORRES                                           Check all that apply.
          9527 ROANOKE DR                                             Contingent
          EL PASO, TX 79924                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,440.00    $2,440.00
          ARMANDO ARCINIEGA JR                                       Check all that apply.
          4901 RANCHO VERDE PKWY                                      Contingent
          CROWLEY, TX 76036                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,203.50    $2,203.50
          ARMANDO SANCHEZ JR                                         Check all that apply.
          5609 SAGO DR                                                Contingent
          WESLACO, TX 78599                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,300.00    $1,300.00
          AUBREE F FULCHER                                           Check all that apply.
          3934 PURDUE LANE                                            Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,923.20    $1,923.20
          BECKY WHITENER                                             Check all that apply.
          1147 ELMWOOD DR                                             Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $314.50    $314.50
          BIZMARCK BEJAR                                             Check all that apply.
          15517 AIKEN LN                                              Contingent
          HOUSTON, TX 77032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $824.00    $824.00
          BRENDA D RAY                                               Check all that apply.
          1410 WOODRIDGE DR                                           Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,281.68    $2,281.68
          BRIAN CASEY                                                Check all that apply.
          4709 SPANISH OAK CT                                         Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,323.20    $3,323.20
          BRITTANY WHITE                                             Check all that apply.
          725 CR 134                                                  Contingent
          OVALO, TX 79541                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,000.00    $1,000.00
          BRYCE C DAVISON                                            Check all that apply.
          333 SOUTHWIND CIR                                           Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,154.40    $4,154.40
          CALEB CHEATHAM                                             Check all that apply.
          5 NANDINA CIR                                               Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,610.00    $1,610.00
          CASIMIRO RODARTE                                           Check all that apply.
          13125 OLD HEARNE RD                                         Contingent
          BRYAN, TX 77803                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,220.00    $1,220.00
          CELESTINO RIVERA                                           Check all that apply.
          6025 TRESCON                                                Contingent
          HOUSTON, TX 77048                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          CESAR I GARCIA SERNA                                       Check all that apply.
          1952 S SEMINOLE ST                                          Contingent
          AMARILLO, TX 79103                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $8,160.00    $8,160.00
          CHARLES L ASHMORE                                          Check all that apply.
          1703 SLAYDON                                                Contingent
          HENDERSON, TX 75654                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,800.00    $4,800.00
          CHARLES PRICE                                              Check all that apply.
          3617 DUKE LN                                                Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,230.40    $5,230.40
          CHRISTOPHER LEFLER                                         Check all that apply.
          977 PLEASANT VALLEY RD                                      Contingent
          WHITE SULPHUR SPRINGS, WV                                   Unliquidated
          24986                                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,491.00    $4,491.00
          CHRISTOPHER T STURDIVANT                                   Check all that apply.
          315 ASLHEY 201W                                             Contingent
          CROSSETT, AR 71635                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,004.50    $2,004.50
          CHRISTOPHER TORRES                                         Check all that apply.
          12505 COUNTY RD 416                                         Contingent
          CROSS PLAINS, TX 76443                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,400.00    $11,400.00
          CLAY A BOYCE                                               Check all that apply.
          706 MAJI RD                                                 Contingent
          WHITEHOUSE, TX 75791                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $936.00    $936.00
          CLIFFORD WALKER III                                        Check all that apply.
          118 MORGAN LN                                               Contingent
          NATCHITOCHES, LA 71457                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,491.00    $4,491.00
          CORBY STURDIVANT                                           Check all that apply.
          1601 ARCADIA DRIVE                                          Contingent
          RUSTON, LA 71270                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $192.00    $192.00
          CORINTHIAN X JONES JR                                      Check all that apply.
          2192 LAMORE DR                                              Contingent
          COLUMBUS, GA 31907                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,908.02    $1,908.02
          CRAIG D LOVE                                               Check all that apply.
          8350 HORSESHOE CIRCLE                                       Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,492.00    $5,492.00
          CRAIG MENDENHALL                                           Check all that apply.
          1882 ELMWOOD                                                Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,097.60    $3,097.60
          CURTIS STANLEY                                             Check all that apply.
          508 CONRAD HILTON BLVD                                      Contingent
          CISCO, TX 76437                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,780.00    $3,780.00
          DALE CRAWFORD                                              Check all that apply.
          2412 BROOK HOLLOW DR                                        Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $12,932.16    $12,932.16
          DANIEL BARBEE                                              Check all that apply.
          11233 CR 335                                                Contingent
          HAWLEY, TX 79525                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          DANIEL DELGADO                                             Check all that apply.
          1005 BANKER RD                                              Contingent
          CANUTILLO, TX 79835                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          DARREN E BLACK                                             Check all that apply.
          PO BOX 3617                                                 Contingent
          PAGE, AZ 86040                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,307.60    $5,307.60
          DAVID A FEIGHTNER                                          Check all that apply.
          419 CR 3707                                                 Contingent
          Bullard, TX 75757                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,846.40    $11,846.40
          DAVID JOINER                                               Check all that apply.
          3034 RICSAN                                                 Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,920.00    $3,920.00
          DAVID L FOLDEN                                             Check all that apply.
          301 VINEYARD LN                                             Contingent
          BIRMINGHAM, AL 35242                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,320.00    $5,320.00
          DAVID L PAZ                                                Check all that apply.
          6001 SE 14TH AVE                                            Contingent
          AMARILLO, TX 79104                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,778.40    $2,778.40
          DAVID M BROWN                                              Check all that apply.
          118 BUCKSHOT RD                                             Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,369.34    $4,369.34
          DAVID R. MCWRIGHT                                          Check all that apply.
          PO BOX 93                                                   Contingent
          BRONTE, TX 76933                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,320.00    $5,320.00
          DAVID S PAZ                                                Check all that apply.
          1005 TENNANT ST                                             Contingent
          AMARILLO, TX 79104                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,501.00    $2,501.00
          DAVID W GROVES                                             Check all that apply.
          2044 FARM RD 2297                                           Contingent
          SULPHUR SPRINGS, TX 75482                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,313.68    $6,313.68
          DAVID WEATHERLY                                            Check all that apply.
          339 ALEXANDRA                                               Contingent
          TUSCOLA, TX 79656                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,592.00    $2,592.00
          DEVON R TWEDELL                                            Check all that apply.
          1624 P E DAIGLE ROAD                                        Contingent
          IOWA, LA 70647                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,596.00    $1,596.00
          DIANNA D DAVIS                                             Check all that apply.
          3417 BUFFALO GAP RD                                         Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $481.00    $481.00
          DJ WRIGHT                                                  Check all that apply.
          5770 S EDMUNDS DR                                           Contingent
          CARSON CITY, NV 89701                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,544.83    $5,544.83
          DONALD MATTERN                                             Check all that apply.
          1825 OLDHAM LN                                              Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $840.00    $840.00
          DONOVAN G AYERS III                                        Check all that apply.
          3201 AMARILLO ST                                            Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,592.00    $2,592.00
          DOUGLAS A TWEDELL II                                       Check all that apply.
          10102 OLD BATON ROUGE HWY                                   Contingent
          HAMMOND, LA 70403                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,028.32    $6,028.32
          DUSTIN E WEATHERFORD                                       Check all that apply.
          1409 S MOCCASIN TRAIL                                       Contingent
          GILBERT, AZ 85296                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $12,932.16    $12,932.16
          DUSTIN W BARBEE                                            Check all that apply.
          126 CENTURY LANE                                            Contingent
          CLYDE, TX 79510                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          DWAYNE H ISTRE                                             Check all that apply.
          2416 POM ROY RD                                             Contingent
          LAKE ARTHUR, LA 70549                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,000.00    $6,000.00
          DWIGHT E MINOR                                             Check all that apply.
          15119 NORTHWOOD                                             Contingent
          TYLER, TX 75703                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,640.00    $3,640.00
          EDGAR D GONZALEZ                                           Check all that apply.
          15111 SIRIUS CIR                                            Contingent
          SAN ANTONIO, TX 78245                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,190.00    $1,190.00
          EDWARD G WINEGEART                                         Check all that apply.
          4734 PAMELA DR                                              Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          EDWIN H LOZANO                                             Check all that apply.
          70 DELICADO DR                                              Contingent
          WHITE ROCK, NM 87547                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,600.00    $2,600.00
          ELDEN WAYMAN                                               Check all that apply.
          343 PR 2371                                                 Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,935.61    $4,935.61
          ERIC ANDERSON                                              Check all that apply.
          2334 GREENBRIAR DR.                                         Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,769.92    $6,769.92
          ERIC D ANDREWS                                             Check all that apply.
          2212 DRIVER                                                 Contingent
          BIG SPRING, TX 79720                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          EVER GALLEGOS                                              Check all that apply.
          205 CALLES LAS TUNAS                                        Contingent
          ESPANOLA, NM 87532                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,988.20    $1,988.20
          FRANCA BENTON                                              Check all that apply.
          1398 MEANDER ST.                                            Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,000.00    $3,000.00
          GAIL CRAIN                                                 Check all that apply.
          531 APACHE LANE                                             Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,920.00    $1,920.00
          GANJIGUUR NARMANDAKH                                       Check all that apply.
          4405 N GARFIELD ST A106                                     Contingent
          MIDLAND, TX 79705                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $936.00    $936.00
          GERARDO CASTANEDA AVALOS                                   Check all that apply.
          15250 PUMICE                                                Contingent
          EL PASO, TX 79928                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,925.00    $1,925.00
          GERARDO SANTIAGO                                           Check all that apply.
          HERNANDEZ                                                   Contingent
          1112 PEACHTREE CR                                           Unliquidated
          ROUND ROCK, TX 78681                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $174,350.09    $174,350.09
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                               Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          March 4, 2021
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          ISIDRO MORENO MONTOYA                                      Check all that apply.
          2236 CHARLES ST                                             Contingent
          PAMPA, TX 79065                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,030.00    $1,030.00
          JACE RHODES                                                Check all that apply.
          2857 GILMER AVE                                             Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,520.00    $3,520.00
          JAIRO MUNGUIA                                              Check all that apply.
          613 BANCROFT CHAPEL RD                                      Contingent
          KINGSPORT, TN 37660                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,781.60    $2,781.60
          JAMES M PUCKETT                                            Check all that apply.
          1317 Tulane Dr                                              Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $880.00    $880.00
          JAMES PAYNE                                                Check all that apply.
          2317 JEANETTE                                               Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,852.00    $5,852.00
          JAMES PIERCE                                               Check all that apply.
          2573 WILL PET RD                                            Contingent
          LUCEDALE, MS 39452                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,901.60    $1,901.60
          JANE WECKWERTH                                             Check all that apply.
          1302 S. LEGGETT DR.                                         Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,440.00    $2,440.00
          JARED A GEERS                                              Check all that apply.
          207 S GRAND ST                                              Contingent
          CLARENCE, MO 63437                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $444.00    $444.00
          JASON G JOHNSON                                            Check all that apply.
          7399 PALOMAR AVE                                            Contingent
          YUCCA VALLEY, CA 92284                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,200.00    $3,200.00
          JASON G LOYA                                               Check all that apply.
          827 S ESPANOLA ST                                           Contingent
          LAS CRUCES, NM 88001                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,307.60    $2,307.60
          JASON HINKLE                                               Check all that apply.
          2560 COUNTY ROAD 133                                        Contingent
          HAMLIN, TX 79520                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,499.20    $6,499.20
          JASON MCFADDEN                                             Check all that apply.
          6973 FM 1082                                                Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $8,698.88    $8,698.88
          JERRY L WHITLOW                                            Check all that apply.
          4272 TIGER LN                                               Contingent
          LAKE ARTHUR, LA 70549                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,699.20    $3,699.20
          JERRY WHETSEL                                              Check all that apply.
          1335 GLENHAVEN DRIVE                                        Contingent
          ABILENE, TX 79603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $880.00    $880.00
          JESUS A RANGEL                                             Check all that apply.
          1533 GREEN                                                  Contingent
          ABILENE, TX 79603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $920.00    $920.00
          JESUS M SALCIDO                                            Check all that apply.
          4805 W COUNTY RD 120                                        Contingent
          MIDLAND, TX 79706                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $7,212.00    $7,212.00
          JIMMY D COATS III                                          Check all that apply.
          1500 CHACO                                                  Contingent
          GRANTS, NM 87020                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,200.04    $1,200.04
          JOEL ORDWAY                                                Check all that apply.
          2309 COOKE STREET                                           Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          JOEY F MARTIN                                              Check all that apply.
          1316 TX-3                                                   Contingent
          LEAGUE CITY, TX 77573                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,448.00    $1,448.00
          JOHN D BILBREY                                             Check all that apply.
          200 E PIONEER ST                                            Contingent
          RISING STAR, TX 76471                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,412.28    $1,412.28
          JOHN E COTTEN                                              Check all that apply.
          12522 STATE HWY 31 E                                        Contingent
          BROWNSBORO, TX 75756                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $14,030.40    $13,650.00
          JOHN J. HYLAND                                             Check all that apply.
          2326 VALHOLLA COURT                                         Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $800.00    $800.00
          JOHN R CROSSMAN                                            Check all that apply.
          302 BROOKE DR                                               Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $314.50    $314.50
          JONATHAN BEJAR                                             Check all that apply.
          15246 LA JOLLA LN                                           Contingent
          HOUSTON, TX 77060                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          JOSE G CADENA JR                                           Check all that apply.
          613 BANCROFT CHAPEL RD                                      Contingent
          KINGSPORT, TN 37660                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,456.00    $1,456.00
          JOSEPH A MCCARTY                                           Check all that apply.
          3934 PURDUE LANE                                            Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,360.00    $1,360.00
          JOSEPH R ROCCO                                             Check all that apply.
          364 CHERYL AVE                                              Contingent
          WHITE ROCK, NM 87547                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          JUAN A DURAN                                               Check all that apply.
          1303 GREENFIELD AVE                                         Contingent
          MISSION, TX 78572                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,592.00    $2,592.00
          JUAN C RODRIGUEZ                                           Check all that apply.
          329 N 11TH ST                                               Contingent
          RAYMONDVILLE, TX 78580                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,464.00    $1,464.00
          JUAN J ARELLANO RODARTE                                    Check all that apply.
          2102 STONE MEADOW CIR                                       Contingent
          BRYAN, TX 77803                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,242.40    $1,242.40
          KARL G GREINER                                             Check all that apply.
          6728 COUNTY ROAD 120                                        Contingent
          CLYDE, TX 79510                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $144.00    $144.00
          KAVANTE J CONERLY                                          Check all that apply.
          3700 BUENA VISTA RD, APT 98                                 Contingent
          COLUMBUS, GA 31906                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $880.00    $880.00
          KELVIN L KNIGHT                                            Check all that apply.
          218 CR 230                                                  Contingent
          WINTERS, TX 79567                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,961.92    $11,961.92
          KENNETH BRUCE STEWART                                      Check all that apply.
          4001 FAUDREE RD #D201                                       Contingent
          ODESSA, TX 79765                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,176.50    $1,176.50
          KENNETH W LEEDS JR                                         Check all that apply.
          2016 N 550 W 49                                             Contingent
          CEDAR CITY, UT 84721                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $306.00    $306.00
          KIMBERLY J DUNN                                            Check all that apply.
          202 ELM                                                     Contingent
          SNYDER, TX 79549                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $9,315.67    $9,315.67
          KIRK BOSWELL                                               Check all that apply.
          2015 BROOKHOLLOW                                            Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,961.92    $11,961.92
          KYLE D. STEWART                                            Check all that apply.
          2266 COUNTY ROAD 162                                        Contingent
          OVALO, TX 79541                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $952.00    $952.00
          LAURA A MCCLINTOCK                                         Check all that apply.
          4434 MARGARITAS WAY                                         Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,384.80    $1,384.80
          LAUREN WHITENER                                            Check all that apply.
          1147 ELMWOOD                                                Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,538.42    $3,538.42
          LAURENCE J THOMAS                                          Check all that apply.
          1342 LAWYERS LANE                                           Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,220.00    $1,220.00
          LAWRENCE I BRAVO                                           Check all that apply.
          17822 CR 127                                                Contingent
          PEARLAND, TX 77581                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,830.40    $2,830.40
          LEE TATUM                                                  Check all that apply.
          110 COUNTY RD 336                                           Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,053.60    $3,053.60
          LEROY ARCE                                                 Check all that apply.
          1250 WEST LAKE DRIVE                                        Contingent
          HAMILIN, TX 79520                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $858.00    $858.00
          LESLIE OXFORD                                              Check all that apply.
          1202 CR 650                                                 Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,069.75    $2,069.75
          LUCINA TREJO                                               Check all that apply.
          4206 ROXTON                                                 Contingent
          AMARILLO, TX 79109                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          LUIS MONTEJANO                                             Check all that apply.
          214 NEWFIELD DR                                             Contingent
          WEST COLUMBIA, SC 29169                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,220.00    $1,220.00
          LUIS REYNA                                                 Check all that apply.
          1244 MERIWEATHER AVE                                        Contingent
          FORT WORTH, TX 76115                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $933.60    $933.60
          LYDIA FLORES                                               Check all that apply.
          5210 SHADY GLEN                                             Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $820.00    $820.00
          MANUEL A RODRIQUEZ                                         Check all that apply.
          714 COTTONWOOD                                              Contingent
          COLEMAN, TX 76834                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,769.61    $6,769.61
          MARCUS GAND                                                Check all that apply.
          5225 SHENANDOAH DR                                          Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,769.60    $4,769.60
          MARK C JACKSON                                             Check all that apply.
          11421 CR 1259                                               Contingent
          FLINT, TX 75762                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,750.00    $1,750.00
          MATT MCKINNEY                                              Check all that apply.
          251 CR 496                                                  Contingent
          Goldsboro, TX 79519                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,080.00    $1,080.00
          MATTHEW DEEL                                               Check all that apply.
          302 CLYDE WAY UNIT B                                        Contingent
          CLYDE, TX 79510                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,098.00    $1,098.00
          MATTHEW E PONDER                                           Check all that apply.
          48 HARPER LN                                                Contingent
          MANCHESTER, TN 37355                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $734.40    $734.40
          MICA ANN ODOM                                              Check all that apply.
          4333 ANTILLEY ROAD                                          Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,768.80    $1,768.80
          MICHAEL BARBEE                                             Check all that apply.
          250 5th STREET                                              Contingent
          HAWLEY, TX 79525                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $7,384.80    $7,384.80
          MICHAEL R ADKINS                                           Check all that apply.
          608 LILLY LN                                                Contingent
          BULLARD, TX 75757                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          MICHAEL R MARTIN JR                                        Check all that apply.
          701 EAST MOONLIGHT DR.                                      Contingent
          ROBINSON, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,218.40    $2,218.40
          MONIQUE N MURPHY                                           Check all that apply.
          21 ALAMO DR                                                 Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,264.00    $4,264.00
          MONTY HAMBRICK                                             Check all that apply.
          PO BOX 464                                                  Contingent
          CLYDE, TX 79510                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,735.98    $3,735.98
          New Mexico Dept. of Workforce                              Check all that apply.
          P.O. Box 1928                                               Contingent
          Albuquerque, NM 87103                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,912.00    $4,912.00
          NICHOLAS A ZUCKERMAN                                       Check all that apply.
          26311 LANDOVER HILLS LN                                     Contingent
          KATY, TX 77494                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,692.32    $6,692.32
          NICHOLAS W HOLCOMB                                         Check all that apply.
          3225 SANDALWOOD LN                                          Contingent
          TYLER, TX 75701                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $153.00    $153.00
          OCTAVIO ESTEVEZ BALTAZAR                                   Check all that apply.
          80620 3309 KING FISHER CO DR                                Contingent
          EVANS, CO 80620                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $7,725.90    $7,725.90
          OVIDIU SEBASTIAN TOTHEZAN                                  Check all that apply.
          2712 BRITTANY LANE                                          Contingent
          GRAPEVINE, TX 76051                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,818.02    $4,818.02
          PAMELA R LANGLEY                                           Check all that apply.
          7447 FM 1226 S                                              Contingent
          HAWLEY, TX 79525                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,769.60    $4,769.60
          PAUL GRANGER                                               Check all that apply.
          26525 US HWY 431                                            Contingent
          FIVE POINTS, AL 36855                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          PEDRO LUNA                                                 Check all that apply.
          3934 NW LOOP 410                                            Contingent
          SAN ANTONIO, TX 78229                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,922.80    $6,922.80
          RAJEEV KARKI                                               Check all that apply.
          6360 MANCHESTER CT                                          Contingent
          TYLER, TX 75703                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,926.40    $11,926.40
          RANDALL BARBEE                                             Check all that apply.
          P.O. BOX 772                                                Contingent
          HAWLEY, TX 79525                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,230.40    $3,230.40
          RANDY R BEYER                                              Check all that apply.
          1756 EN 10TH ST                                             Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,640.00    $3,640.00
          RAUL MARTINEZ                                              Check all that apply.
          3010 PROSPECT AVE                                           Contingent
          FORT WORTH, TX 76106                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,772.92    $2,772.92
          REBECCA L. FORD                                            Check all that apply.
          PO BOX 847                                                  Contingent
          BAIRD, TX 79504                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $527.20    $527.20
          REBECCA N DANTZLER                                         Check all that apply.
          1910 S 19TH ST                                              Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,640.00    $3,640.00
          RICARDO MARTINEZ                                           Check all that apply.
          5326 ENCINO RD                                              Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,038.40    $4,038.40
          RICHARD GLENN GARRISON                                     Check all that apply.
          354 COUNTY RD. 123                                          Contingent
          ABILENE, TX 79601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $7,875.00    $7,875.00
          RICHARD J HAVINS                                           Check all that apply.
          6225 HONOR ROLL COURT                                       Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,300.00    $1,300.00
          ROBELO MIRANDA OVIEDO                                      Check all that apply.
          529 E ESPERANZA AVE                                         Contingent
          MISSION, TX 78574                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $880.00    $880.00
          ROBERT ESPINOSA JR                                         Check all that apply.
          2858 HIGHLAND                                               Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,538.40    $3,538.40
          ROBERT J CROSSMAN                                          Check all that apply.
          1001 GRAHAM                                                 Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          ROBERTO GARZA                                              Check all that apply.
          PO BOX 274                                                  Contingent
          GARCIASVILLE, TX 78547                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,610.00    $1,610.00
          ROBERTO RODARTE JUAREZ                                     Check all that apply.
          527 N 91ST EAST PL                                          Contingent
          TULSA, OK 74115                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,076.80    $5,076.80
          ROGER V BOONE                                              Check all that apply.
          952 FM 49                                                   Contingent
          MINEOLA, TX 75773                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,769.60    $5,769.60
          RONALD EDWARDS                                             Check all that apply.
          13680 COUNTY ROAD 4200                                      Contingent
          TYLER, TX 75771                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $469.20    $469.20
          ROY F WORKMAN                                              Check all that apply.
          2817 SHEPHERD ST                                            Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $880.00    $880.00
          RUBEN RODRIQUEZ                                            Check all that apply.
          PO BOX 273                                                  Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,024.00    $3,024.00
          RUSSELL BURCHETT                                           Check all that apply.
          233 FILLY RD                                                Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,627.20    $4,627.20
          RYAN L ROLLINS                                             Check all that apply.
          4933 CRYSTAL CREEK                                          Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,892.40    $4,892.40
          RYAN M BLOSER                                              Check all that apply.
          11086 WESTHAVEN CIRCLE                                      Contingent
          FLINT, TX 75762                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,800.00    $2,800.00
          SCOTT W BALDWIN                                            Check all that apply.
          5519 DIXONS MILL RD                                         Contingent
          MARSHALL, VA 20115                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          SERGIO J DURAN                                             Check all that apply.
          1303 GREENFIELD AVE                                         Contingent
          MISSION, TX 78572                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $836.00    $836.00
          SERGIO SORIANO                                             Check all that apply.
          5410 CAPITOL AVE.                                           Contingent
          ABILENE, TX 79603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,135.00    $2,135.00
          SERJIO A MARTINEZ                                          Check all that apply.
          2709 MIMOSA                                                 Contingent
          ABILENE, TX 79603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $785.60    $785.60
          SHARON D GONZALES                                          Check all that apply.
          1519 YEOMANS RD                                             Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,640.00    $2,640.00
          SHELTON D. MARSHALL JR.                                    Check all that apply.
          841 BRIARWOOD ST                                            Contingent
          ABILENE, TX 79603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $11,400.00    $11,400.00
          STANLEY ADAMS                                              Check all that apply.
          285 EAST BARCELONA DR.                                      Contingent
          ST. GEORGE, UT 84790                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,000.00    $1,000.00
          STEPHANIE VICARS                                           Check all that apply.
          10317 County Road 244                                       Contingent
          CLYDE, TX 79510                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $444.00    $444.00
          STEVEN A JOHNSON                                           Check all that apply.
          7129 IVANPAH AVE                                            Contingent
          TWENTYNINE PALMS, CA 92277                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,660.16    $5,660.16
          STEVEN F RICH                                              Check all that apply.
          86 HILL TOP RD                                              Contingent
          HUNTSVILLE, TX 77320                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $890.00    $890.00
          STEVEN L JOSEPHSON                                         Check all that apply.
          2942 STONECREST DR                                          Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,122.00    $1,122.00
          SUSANNA M RODARTE                                          Check all that apply.
          VILLASANA                                                   Contingent
          527 N 91ST E PL LOT 22                                      Unliquidated
          TULSA, OK 74115                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,230.40    $5,230.40
          TAD TIMMONS                                                Check all that apply.
          PO Box 625                                                  Contingent
          TOLAR, TX 76476                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,090.00    $2,090.00
          TANNER L WELLS                                             Check all that apply.
          110 JOYNER ST                                               Contingent
          JUDSONA, AR 72081                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,664.00    $1,664.00
          TAYLOR D NELSON                                            Check all that apply.
          547 YELLOW JACKET RD                                        Contingent
          DAYTON, NV 89403                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.174                                                                                                                                                   $2,024,924.
          Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,024,924.65    65
          Texas Comptroller of Public                                Check all that apply.
          Accounts                                                    Contingent
          1711 San Jacinto Blvd.                                      Unliquidated
          Austin, TX 78701
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,862.18    $3,862.18
          Texas OAG (Child Support                                   Check all that apply.
          Division)                                                   Contingent
          Bankruptcy & Collections Division                           Unliquidated
          P.O. Box 12548                                              Disputed
          Austin, TX 78711-5248
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $85,949.51    $85,949.51
          Texas Workforce Commission                                 Check all that apply.
          PO Box 901010                                               Contingent
          Fort Worth, TX 76101-2010                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,420.00    $3,420.00
          TIM CRITTENDEN                                             Check all that apply.
          670 EAST STATE RD 35                                        Contingent
          FRANCIS, UT 84036                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $4,769.60    $4,769.60
          TIMOTHY HEFFRON                                            Check all that apply.
          12933 US HWY 277 S                                          Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $990.00    $990.00
          TONY M CASTELLANO                                          Check all that apply.
          407 N 7TH ST                                                Contingent
          LAMESA, TX 79331                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $314.50    $314.50
          TRAVIS C SMITH                                             Check all that apply.
          1225 W PROSPECT RD V81                                      Contingent
          FORT COLLINS, CO 80526                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,360.00    $1,360.00
          TRENTON RAVEN                                              Check all that apply.
          3214 HUTCHINS ST                                            Contingent
          HOUSTON, TX 77004                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          TREVOR W WHITLOW                                           Check all that apply.
          4272 TIGER LN                                               Contingent
          LAKE ARTHUR, LA 70549                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $5,178.02    $5,178.02
          TRINA PARKS                                                Check all that apply.
          401 CR 654                                                  Contingent
          TUSCOLA, TX 79562                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $792.40    $792.40
          TRISHA MARIE KANE                                          Check all that apply.
          2526 S 41ST ST                                              Contingent
          ABILENE, TX 79605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $774.00    $774.00
          TRISTAN C ARCHER                                           Check all that apply.
          706 N AVE G                                                 Contingent
          LAMESA, TX 79331                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,653.63    $2,653.63
          TROY ARCE                                                  Check all that apply.
          130 SW AVE J                                                Contingent
          HAMLIN, TX 79520                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
              Name

 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,615.20    $6,615.20
          TUSHAR SHAHANE                                             Check all that apply.
          7402 MANDEVILLA DR                                          Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1,176.50    $1,176.50
          TYLER J SCHOLZ                                             Check all that apply.
          1677 N MAIN ST #49                                          Contingent
          CEDAR CITY, UT 84721                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,880.00    $2,880.00
          TYLER J TRACY                                              Check all that apply.
          419 ELLIOT ST                                               Contingent
          WYLIE, TX 75098                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $6,656.00    $6,656.00
          TYSON C COCHRAN                                            Check all that apply.
          103 SHERRY DR                                               Contingent
          MARSHALL, TX 75672                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                           Case number (if known)   21-10051-rlj
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 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,760.00    $2,760.00
          VERN HICKS                                                 Check all that apply.
          PO BOX 7495                                                 Contingent
          SHONTO, AZ 86054                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,120.00    $2,120.00
          VERNELLE D BEDONIE                                         Check all that apply.
          PO BOX 163                                                  Contingent
          TONALEA, AZ 86044                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $700.00    $700.00
          VERNON T WERTZ                                             Check all that apply.
          457 COUNTY ROAD 4796                                        Contingent
          BOYD, TX 76023                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,620.00    $2,620.00
          VICTOR M VALDEZ JR                                         Check all that apply.
          13425 RANCH RD 620 N, APT 218                               Contingent
          AUSTIN, TX 78717                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $2,178.80    $2,178.80
          WILLIAM EDWARDS                                            Check all that apply.
          2310 SAVANAH OAKS                                           Contingent
          ABILENE, TX 79602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $13,060.80    $13,060.80
          WILLIAM HOLMES                                             Check all that apply.
          302 STALLION RD                                             Contingent
          ABILENE, TX 79606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $9,230.40    $9,230.40
          WILLIAM ROSS MCDANIEL                                      Check all that apply.
          2228 BAYOU COVE LN                                          Contingent
          LEAGUE CITY, TX 77573                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $3,200.00    $3,200.00
          WILLIE E GREEN                                             Check all that apply.
          331 GULF AVE                                                Contingent
          WILMINGTON, CA 90744                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.199     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $84.00    $84.00
           ZACHARY A BIBEE                                           Check all that apply.
           9455 SKY VISTA PKWY APT 21F                                Contingent
           RENO, NV 89506                                             Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.200     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $880.00    $880.00
           ZENNY J BALLEZA                                           Check all that apply.
           4001 KAREN DR                                              Contingent
           ABILENE, TX 79606                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $417.10
           11X17, INC.                                                              Contingent
           P O BOX 117                                                              Unliquidated
           JACKSONVILLE, TX 75766                                                   Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $37,783.25
           1904 GRAND PARKWAY NORTH LP                                              Contingent
           2537 S. GESSNER RD., STE 250                                             Unliquidated
           HOUSTON, TX 77063                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $634.20
           24 HOUR SAFETY, LLC                                                      Contingent
           P. O. BOX 4356, DEPT 1561                                                Unliquidated
           HOUSTON, TX 77210                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $395.92
          ABILENE MAINT. SUPPLIES                                             Contingent
          873 N. MOCKINGBIRD LN                                               Unliquidated
          ABILENE, TX 79603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,873.64
          ACCURATE AIR SOLUTIONS LLC                                          Contingent
          P.O. BOX 5817                                                       Unliquidated
          ABILENE, TX 79608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $211.61
          ADIGO                                                               Contingent
          3091 S. JAMAICA COURT                                               Unliquidated
          SUITE 115                                                           Disputed
          AURORA, CO 80014
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $496,972.57
          AHERN RENTALS, INC                                                  Contingent
          1401 MINERAL AVE                                                    Unliquidated
          LAS VEGAS, NV 89106                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,052.14
          AIRGAS USA, LLC                                                     Contingent
          1800 E 20th Street                                                  Unliquidated
          Farmington, NM 87401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $912.00
          AL SANCHEZ                                                          Contingent
          11906 TEANECK DR.                                                   Unliquidated
          HOUSTON, TX 77089                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,516.45
          ALERE TOXICOLOGY PROD. DIV                                          Contingent
          1342 COURT STREET                                                   Unliquidated
          PORTSMOUTH, VA 23704                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,261.40
          ALL COPY                                                            Contingent
          PO BOX 545                                                          Unliquidated
          ABILENE, TX 79604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,779.21
          Allensworth & Porter                                                Contingent
          c/o Travis Brown                                                    Unliquidated
          100 Congress Avenue, Suite 700                                      Disputed
          Austin, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred April 2021
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,779.21
          ALLENSWORTH & PORTER, L.L.P.                                        Contingent
          100 CONGRESS AVE. SUITE 700                                         Unliquidated
          AUSTIN, TX 78701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $525.00
          ALPHA RESOURCES, LLC                                                Contingent
          2333 INDIAN CREST DR.                                               Unliquidated
          PELHAM, AL 35124                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,335.13
          ANIXTER, INC.                                                       Contingent
          1601 Waters Ridge Rd                                                Unliquidated
          Lewisville, TX 75057                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $752.00
          ARMANDO ARCINIEGA JR                                                Contingent
          4901 RANCHO VERDE PKWY                                              Unliquidated
          CROWLEY, TX 76036                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $553.33
          AT & T                                                              Contingent
          PO BOX 105414                                                       Unliquidated
          ATLANTA, GA 30348-5414                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,617.96
          AT&T                                                                Contingent
          P.O. BOX 5019                                                       Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $829.25
          AT&T MOBILITY                                                       Contingent
          ONE AT&T WAY                                                        Unliquidated
          BEDMINSTER, NJ 07921                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,241.69
          ATMOS ENERGY CORPORATION                                            Contingent
          P.O. BOX 650205                                                     Unliquidated
          DALLAS, TX 75265-0205                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $465.00
          AZB & Partners                                                      Contingent
          Penisula Corporate Park                                             Unliquidated
          Ganpatrao Kadam Marg                                                Disputed
          Lower Parel, Mumbai, MH 00040-0013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,125.03
          B & J WELDING SUPPLY LTD                                            Contingent
          1512 EAST 50TH                                                      Unliquidated
          LUBBOCK, TX 79404                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          BAE Ordanance Systems, Inc.                                         Contingent
          c/o Beth W. Newsom                                                  Unliquidated
          2000 15th Street, North Suite 1100                                  Disputed
          Arlington, VA 22201
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,083.93
          BARCO RENT A TRUCK                                                  Contingent
          717 SOUTH 5600 WEST                                                 Unliquidated
          SALT LAKE CITY, UT 84104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $260.00
          BARNHART BOLT & SPECIAL FASTENERS,                                  Contingent
          INC.                                                                Unliquidated
          PO BOX 69085                                                        Disputed
          ODESSA, TX 79769-9085
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $25.00
          BAY AREA RENTALS                                                    Contingent
          5525 RED BLUFF RD                                                   Unliquidated
          PASADENA, TX 77505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,392.41
          BBVA COMPASS                                                        Contingent
          P. O. BOX 10566                                                     Unliquidated
          BIRMINGHAM, AL 35296                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,949.32
          BENTEK CORPORATION                                                  Contingent
          1991 SENTER RD                                                      Unliquidated
          SAN JOSE, CA 95112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $28.06
          BIBLE HARDWARE, INC                                                 Contingent
          333 WALNUT ST.                                                      Unliquidated
          ABILENE, TX 79601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,660.00
          BIG BEND SERVICES LLC                                               Contingent
          8212 SAN DIEGO ST                                                   Unliquidated
          PO BOX 61226                                                        Disputed
          ODESSA, TX 79765
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,113.93
          BIG RED FASTENERS INC                                               Contingent
          PO BOX 470547                                                       Unliquidated
          TULSA, OK 74147-0547                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $87,018.00
          BIGGE CRANE AND RIGGING CO                                          Contingent
          10700 BIGGE AVE                                                     Unliquidated
          SAN LEANDRO, CA 94577                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $471.54
          BILL WILLIAMS TIRE CENTER                                           Contingent
          1201 S. Treadaway BLVD                                              Unliquidated
          Abilene, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $489,265.20
          BLACK JACK ENERGY SERVICES, LL                                      Contingent
          17530 CR 265                                                        Unliquidated
          CLYDE, TX 79510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $205.68
          BLACK PLUMBING CO INC                                               Contingent
          PO BOX 6347                                                         Unliquidated
          ABILENE, TX 79608-6347                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $312,249.44
          BLUE CROSS BLUE SHIELD OF TX                                        Contingent
          DEPT 1134                                                           Unliquidated
          PO BOX 121134                                                       Disputed
          DALLAS, TX 75312-1134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,390.71
          BLUEBEAM SOFTWARE, INC                                              Contingent
          766 E COLORADO BLVD STE 200                                         Unliquidated
          PASADENA, CA 91101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,252.80
          BOXX MODULAR                                                        Contingent
          3475 HIGH RIVER ROAD                                                Unliquidated
          FORT WORTH, TX 76155                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $45,919.75
          BRAUN INTERTEC CORPORATION                                          Contingent
          11001 HAMPSHIRE AVENUE SOUTH                                        Unliquidated
          MINNEAPOLIS, MN 55438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,300.00
          BUCHANAN HAULING & RIGGING, INC.                                    Contingent
          4625 INDUSTRIAL BLVD                                                Unliquidated
          FORT WAYNE, IN 46825                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $216.50
          BUGMAN PEST CONTROL                                                 Contingent
          PO BOX 1173                                                         Unliquidated
          ABILENE, TX 79604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $7.15
          CALVERT-MENICUCCI PC                                                Contingent
          8804 WASHINGTON ST., NE SUITE E                                     Unliquidated
          ALBUQUERQUE, NM 87113                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $297.90
          CAN-DOO BUDJET RENTALS, INC                                         Contingent
          301 GOLIAD DR.                                                      Unliquidated
          ABILENE, TX 79601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,850.00
          CD FARM & OILFIELD DOZER                                            Contingent
          4910 CR 260                                                         Unliquidated
          ANSON, TX 79501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,958.87
          CDW DIRECT, LLC                                                     Contingent
          200 N. MILWAUKEE AVE.                                               Unliquidated
          VERNON HILLS, IL 60061-1577                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,475.00
          CG Investments, LP                                                  Contingent
          PO Box 4737                                                         Unliquidated
          Houston, TX 77210-4737                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $444.12
          CHRISTIAN SERVICE CENTER                                            Contingent
          3185 N. 10TH                                                        Unliquidated
          ABILENE, TX 79603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,251.15
          CISCO EQUIPMENT RENTALS, LLC                                        Contingent
          520 SE LOOP 338                                                     Unliquidated
          ODESSA, TX 79762                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,682.02
          CLAIMS-X-CHANGE, LLC                                                Contingent
          14200 MIDWAY RD, STE 106                                            Unliquidated
          DALLAS, TX 75244                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $40.00
          CLARK COUNTY LEGAL NEWS                                             Contingent
          433 CONCORD WAY                                                     Unliquidated
          HENDERSON, NV 89015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,540.38
          CMC CONSTRUCTION SERVICES                                           Contingent
          SUITE 300                                                           Unliquidated
          15990 NORTH BARKERS LANDING                                         Disputed
          HOUSTON, TX 77079
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,648.00
          CODY KENDRICK                                                       Contingent
          210 TAYLOR                                                          Unliquidated
          TUSCOLA, TX 79562                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,525.84
          COLEMAN AMERICAN MOVING SVCS,                                       Contingent
          4825 DERRICK DRIVE                                                  Unliquidated
          ABILENE, AL 79601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,143.14
          CONDLEY AND COMPANY, L.L.P.                                         Contingent
          P.O. BOX 2993                                                       Unliquidated
          ABILENE, TX 79604-2993                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $104.23
          CONLEY PRINTING COMPANY, INC                                        Contingent
          902 S. TREADAWAY                                                    Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,134.30
          CONSTELLATION NEW ENERGY, INC                                       Contingent
          111 MARKET PLACE, 5th FLR                                           Unliquidated
          BALTIMORE, MD 21202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,950.00
          CORSAIR CONSULTING LLC                                              Contingent
          1505 VOLTA DR. , STE 200                                            Unliquidated
          CEDAR PARK, TX 78641                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,839.35
          CRANE SERVICE, INC                                                  Contingent
          505 MURRY RD. S.E.                                                  Unliquidated
          ALBUQUERQUE, NM 87105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,964.04
          CROSS COUNTRY INFRASTRUCTURE                                        Contingent
          SERVICES IN                                                         Unliquidated
          2251 RIFLE ST                                                       Disputed
          AURORA, CO 80011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,948.50
          DATROO TECHNOLOGIES LLC                                             Contingent
          1302 HIGHLAND AVE.                                                  Unliquidated
          ABILENE, TX 79605                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $625.11
          DELUXE BUSINESS CHECKS                                              Contingent
          3680 VICTORIA ST. N                                                 Unliquidated
          SHOREVIEW, MN 55126                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $250,000.00
          Development Corporation of Abilene                                  Contingent
          174 Cypress Street #301                                             Unliquidated
          Abilene, TX 79601                                                   Disputed
          Date(s) debt was incurred July 8, 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,674.93
          DIMENSIONAL SOLUTIONS, INC                                          Contingent
          20018 CHATEAU BEND DR                                               Unliquidated
          KATY, TX 77450                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $170.50
          DISA, INC.                                                          Contingent
          12600 NORTHBOROUGH DR.                                              Unliquidated
          STE 300                                                             Disputed
          HOUSTON, TX 77067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $35.00
          DISABILITY RESOURCES, INC.                                          Contingent
          3602 NORTH CLACK STREET                                             Unliquidated
          ABILENE, TX 79601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $441.10
          DISCOVERY BENEFITS LLC                                              Contingent
          4321 20TH AVE S                                                     Unliquidated
          FARGO, ND 58103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,778.39
          DNOW L.P                                                            Contingent
          7402 N ELDRIDGE PKWY                                                Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $696.02
          DONOVAN AYERS                                                       Contingent
          1912 SUNLAND DR                                                     Unliquidated
          CARSON CITY, NV 89706                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,043,644.56
          DOOLEY TACKABERRY, INC                                              Contingent
          1515 W 13TH STREET                                                  Unliquidated
          DEER PARK, TX 77536                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $349.29
          DTT WELDING & EXCAVATING                                            Contingent
          RT 4 BOX 20 E                                                       Unliquidated
          HERNANDEZ, NM 87537                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $39,416.33
          DUNCAN BOLT COMPANY                                                 Contingent
          8535 DICE RD.                                                       Unliquidated
          SANTA FE SPRINGS, CA 90870                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,953.00
          E AND E INDUSTRIAL SERVICES IN                                      Contingent
          12610 N. AIRLINE HWY                                                Unliquidated
          GONZALES, LA 70737                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,351.85
          E-Z LINE PIPE SUPPORT CO., LLC                                      Contingent
          P. O. BOX 767                                                       Unliquidated
          MANVEL, TX 77578                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,110.00
          E2RC LLC                                                            Contingent
          439 SOUTH HILL RD                                                   Unliquidated
          BERNALILLO, NM 87004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $150,656.95
          EDGEN MURRAY CORPORATION                                            Contingent
          18444 HIGHLAND, RD                                                  Unliquidated
          BATON ROUGE, LA 70809                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $898.15
          ELECTRICAL ENGINEERING & EQUIPMENT                                  Contingent
          953 73RD ST                                                         Unliquidated
          WINDSOR HEIGHTS, IA 50324                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $390.04
          ELITE SUPPLY PARTNERS INC                                           Contingent
          13505 E 61ST STREET, SUITE A                                        Unliquidated
          BROKEN ARRROW, OK 74012                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $179,057.52
          ELLIOTT ELECTRIC SUPPLY, INC                                        Contingent
          4281 CRAWFORD DR.                                                   Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $152,412.50
          ENERGY FIELD EQUIPMENT SERVICES LLC                                 Contingent
          39 S. YORK ROAD                                                     Unliquidated
          DILLSBURG, PA 17019                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Engie North America, Inc.                                           Contingent
          1360 Post Oak Blbd., Suite 400
          Houston, TX 77056
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Enterprise Crude Pipeline, LLC                                      Contingent
          P.O. Box 4735
          Houston, TX 77210
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Enterprise Products Operating, LLC                                  Contingent
          P.O. Box 4324
          Houston, TX 77210
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $27,574.53
          ENTERPRISE RENT A CAR                                               Contingent
          ATTN: ACCTS RECEIVABLE                                              Unliquidated
          2860 SLATER RD.                                                     Disputed
          MORRISVILLE, NC 27560-8436
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,988.45
          ESPANOLA TRANSIT MIX, LLC                                           Contingent
          1302 N RIVERSIDE DRIVE                                              Unliquidated
          ESPANOLA, NM 87532                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,270.00
          ESSEX CRANE RENTAL CORPORATION                                      Contingent
          1110 LAKE COOK RD, STE 220                                          Unliquidated
          BUFFALO GROVE, IL 60089                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,208.30
          ETAP                                                                Contingent
          17 GOODYEAR, STE 100                                                Unliquidated
          IRVINE, CA 92618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,759.80
          Farwest Corrosion Control Company                                   Contingent
          12029 Regentview Ave                                                Unliquidated
          Downey, CA 90241-5517                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $353.03
          FASTENAL COMPANY                                                    Contingent
          2001 THEURER BLVD                                                   Unliquidated
          WINONA, MN 55987                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.60
          FEDEX PALATINE                                                      Contingent
          P. O. BOX 660481                                                    Unliquidated
          DALLAS, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $41.22
          FERGUSON ENTERPRISES, LLC                                           Contingent
          12500 JEFFERSON AVE                                                 Unliquidated
          NEWPORT NEWS, VA 23602                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $11.25
          FIDELITY INVESTMENTS                                                Contingent
          82 DEVONSHIRE ST. KW1C                                              Unliquidated
          BOSTON, MA 02109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,190.94
          FRANK'S SUPPLY CO. INC                                              Contingent
          3311 STANFORD DRIVE NE                                              Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          FTC Solar, Inc.                                                     Contingent
          9020 N. Capital of Texas Hwy, Suite 260
          Austin, TX 78750
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,562.00
          GEN PRO                                                             Contingent
          11310 W INTERSTATE 2 E                                              Unliquidated
          ODESSA, TX 79765                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,723.95
          GENERAL STEEL WAREHOUSE, INC                                        Contingent
          PO BOX 2037                                                         Unliquidated
          LUBBOCK, TX 79408                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,988.48
          GENESIS SYSTEMS, INC                                                Contingent
          2663 MARQUIS DR                                                     Unliquidated
          GARLAND, TX 75042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $898.91
          GLOBAL SAMARITAN RESOURCES                                          Contingent
          2074 N. 1st ST                                                      Unliquidated
          ABILENE, TX 79603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,340.00
          GOINS CRANE SERVICE, INC                                            Contingent
          PO BOX 5276                                                         Unliquidated
          ABILENE, TX 79608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,273.31
          GOSAFE                                                              Contingent
          W JOE SHAW, LTD dba GOSAFE                                          Unliquidated
          PO BOX 1025                                                         Disputed
          DEER PARK, TX 77536
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,457.19
          GRAINGER, INC                                                       Contingent
          100 GRAINGER PKWY                                                   Unliquidated
          LAKEFOREST, IL 60045-5201                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $119,408.24
          GRAYBAR ELECTRIC CO., INC                                           Contingent
          1601 South Treadaway                                                Unliquidated
          Abilene, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,063.59
          GREAT PLAINS EQUIPMENT RENTAL LLC                                   Contingent
          802 EAST 34TH ST                                                    Unliquidated
          LUBBOCK, TX 00079-4041                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $213,678.86
          H & E EQUIPMENT SERVICES, INC                                       Contingent
          1700 South Sam Houston                                              Unliquidated
          Parkway West                                                        Disputed
          Houston, TX 77047
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $780.00
          HARPER BATES & CHAMPION LLP                                         Contingent
          1717 MAIN STREET, SUITE 3550                                        Unliquidated
          DALLAS, TX 75201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,810.13
          HAZARD SCOUT, LLC                                                   Contingent
          1706 SMOKING OAK PLACE                                              Unliquidated
          NORMAN, OK 73072                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,298.34
          HD SUPPLY WHITECAP CONST SUPP                                       Contingent
          501 W. CHURCH ST.                                                   Unliquidated
          ORLANDO, FL 32805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,497.74
          HERC RENTALS INC                                                    Contingent
          PO BOX 936257                                                       Unliquidated
          ATLANTA, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,468.14
          HILTI, INC.                                                         Contingent
          13635 Stemmons Fwy #300                                             Unliquidated
          Farmers Branch, TX 75234                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,463.53
          HYDRO BLIND SOLUTIONS                                               Contingent
          5500 TWIN CITY HWY                                                  Unliquidated
          PORT ARTHUR, TX 77642                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,780.66
          HYTORC                                                              Contingent
          333 RT. 17 NORTH                                                    Unliquidated
          MAHWAH, NJ 07430                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,144.50
          INDUSTRIAL DIESEL                                                   Contingent
          8705 HARMON RD.                                                     Unliquidated
          FORT WORTH, TX 76177                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $106.41
          JABO SUPPLY CORP.                                                   Contingent
          10085 EMERSON AVE.                                                  Unliquidated
          PARKERSBURG, WV 26104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $702.92
          JACKSON BROTHERS FEED AND SEED                                      Contingent
          3818 S. TREADAWAY BLVD                                              Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,139.00
          JAMES, COODE, & HOBSON, INC.                                        Contingent
          4210 HAWKINS ST. NE                                                 Unliquidated
          ALBUQUERQUE, NM 87109                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          JARED GEERS                                                         Contingent
          207 S GRAND ST                                                      Unliquidated
          CLARENCE, MO 63437                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $312.18
          JERRY WHITLOW                                                       Contingent
          4272 TIGER LANE                                                     Unliquidated
          LAKE ARTHUR, LA 70549                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,345.00
          JOHAN MARTENS                                                       Contingent
          2006 CR M                                                           Unliquidated
          LAMESA, TX 79331                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $696.00
          LIFE LINE TECHNOLOGIES, LLC                                         Contingent
          1028 FORUM DRIVE                                                    Unliquidated
          BROUSSARD, LA 70518                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $440.00
          LLR-ENGINEERS & SURVEYORS BRD.                                      Contingent
          P.O. BOX 11597                                                      Unliquidated
          COLUMBIA, SC 29211-1597                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,798.00
          LM Concrete                                                         Contingent
          19 Rito Guicu                                                       Unliquidated
          Santa Fe, NM 87507                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $57,877.94
          LOCKWOOD PARTNERS LLC                                               Contingent
          P.O. BOX 53466                                                      Unliquidated
          HOUSTON, TX 77052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,795.00
          LOOKOUT SOFTWARE, INC                                               Contingent
          422 RICHARDS ST #300                                                Unliquidated
          VANCOUVER, BC V6B 2Z4                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $479.13
          LOS ALAMOS COUNTY ENVIRONMENTAL                                     Contingent
          SERVICES                                                            Unliquidated
          3701 E JEMEZ ROAD                                                   Disputed
          LOS ALAMOS, NM 87544
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $31,788.00
          LOS ALAMOS TRANSIT MIX                                              Contingent
          PO BOX 747                                                          Unliquidated
          LOS ALAMOS, NM 87544                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $513.94
          LOVE AND CARE MINISTRIES                                            Contingent
          233 FANNIN ST.                                                      Unliquidated
          ABILENE, TX 79603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $208.44
          LOWE'S HOME CENTERS, INC                                            Contingent
          ACCT 82131440432149                                                 Unliquidated
          PO BOX 530954                                                       Disputed
          ATLANTA, GA 30353-0954
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,547.80
          MACDONALD DEVIN P.C.                                                Contingent
          1201 ELM ST., STE 3800                                              Unliquidated
          DALLAS, TX 75270                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,696.20
          MALCOM SUPPLY CO.                                                   Contingent
          1833 S. TREADAWAY                                                   Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,793.98
          MALOY MOBILE STORAGE INC.                                           Contingent
          535 COMANCHE RD NE                                                  Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,727.35
          MANHATTAN TELECOMMUNICATIONS
          CORPORATION                                                         Contingent
          55 WATER STREET                                                     Unliquidated
          FLOOR 32                                                            Disputed
          NEW YORK, NY 10041
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Manulife Property Portfolio Inc.                                    Contingent
          736 6 Ave SW
          Calgary, AB, Canada T2P 3T7
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          MARSH & MCLENNAN AGENCY, LLC                                        Contingent
          PO BOX 848315                                                       Unliquidated
          DALLAS, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $32,050.00
          MATCOR, INC.                                                        Contingent
          14250 OLD KATY RD., #150                                            Unliquidated
          HOUSTON, TX 77079                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $217.20
          MCCARTY EQUIPMENT CO. LTD                                           Contingent
          1802 S. TREADAWAY BLVD                                              Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,867.83
          MCJUNKIN REDMAN CORPORATION                                         Contingent
          P. O. BOX 4395                                                      Unliquidated
          ODESSA, TX 79760                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,800.00
          MCMAHON,SUROVIK,SUTTLE PC                                           Contingent
          400 PINE ST. STE 800                                                Unliquidated
          ABILENE, TX 79601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $267.90
          MCMASTER-CARR SUPPLY CO.                                            Contingent
          PO BOX 7690                                                         Unliquidated
          CHICAGO, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,616.76
          MDA SCAFFOLDING, LLC                                                Contingent
          PO BOX 7589                                                         Unliquidated
          ODESSA, TX 79760                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,735.39
          Mica Odom - FAB Petty Cash                                          Contingent
          550 S. 18th                                                         Unliquidated
          Abilene, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,671.37
          MICROSOFT CORPORATION                                               Contingent
          995 DALTON AVE                                                      Unliquidated
          CINCINATTI, OH 45203                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $101,200.00
          Mike Breed                                                          Contingent
          144 Coronado Bend                                                   Unliquidated
          Fort Worth, TX 76108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,532.39
          MILFORD                                                             Contingent
          7607 W. INDUSTRIAL AVE                                              Unliquidated
          MIDLAND, TX 79706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,121.86
          MITEL CLOUD SERVICES                                                Contingent
          1146 N ALMA SCHOOL ROAD                                             Unliquidated
          MESA, AZ 85201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,504.02
          MOBILE MINI, INC                                                    Contingent
          4646 E. VAN BUREN, SUITE 400                                        Unliquidated
          PHOENIX, AZ 85008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,169.06
          MOTION INDUSTRIES, INC                                              Contingent
          P.O. BOX 849737                                                     Unliquidated
          DALLAS, TX 75284-9737                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Mott Corporation                                                    Contingent
          84 Spring Lane
          Farmington, CT 06032
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,571.83
          MUTUAL OF OMAHA INSURANCE                                           Contingent
          COMPANY                                                             Unliquidated
          3300 MUTUAL OF OMAHA PLAZA                                          Disputed
          OMAHA, NE 68175
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,550.56
          NATIONAL CONSTRUCTION RENTALS                                       Contingent
          15319 CHATSWORTH ST                                                 Unliquidated
          MISSION HILLS, CA 91345                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $511.82
          NEW MEXICO TAXATION & REVENUE                                       Contingent
          P. O. BOX 630                                                       Unliquidated
          SANTA FE, NM 87504                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,465.23
          NEXTRACKER, INC                                                     Contingent
          6200 PASEO PADRE PKWY                                               Unliquidated
          FREMONT, CA 94555                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,321.92
          Obermayer Rebmann Maxwell & Hippel LLP                              Contingent
          Centre Square West                                                  Unliquidated
          1500 Market Street, Suite 3400                                      Disputed
          Philadelphia, PA 19102-2101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Occidental Permian, Ltd.                                            Contingent
          P.O. Box 2004
          Houston, TX 77252
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $905.00
          OCCMEDTX ADC                                                        Contingent
          3449 N 10TH                                                         Unliquidated
          ABILENE, TX 79603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,193.00
          OLDCASTLE INFRASTRUCTURE, A CRH                                     Contingent
          CO.                                                                 Unliquidated
          1100 HERITAGE PARKWAY                                               Disputed
          MANSFIELD, TX 76063
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,000,000.00
          Origin Bank                                                         Contingent
          9805 Katy Freeway, Suite 200
          Houston, TX 77024
                                                                              Unliquidated
          Date(s) debt was incurred April 28, 2020
                                                                              Disputed
          Last 4 digits of account number 7208                               Basis for the claim:    Payroll Protection Program (Round 1)
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,978.20
          P 2 PROGRAMS                                                        Contingent
          P. O. BOX 1000                                                      Unliquidated
          DRIPPING SPRINGS, TX 78620                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,934.54
          PC CONNECTION, MACCONNECTION                                        Contingent
          730 MILLFORD RD                                                     Unliquidated
          MERRIMACK, NH 03054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,497.05
          PETTIGREW & ASSOCIATES, P.A.                                        Contingent
          100 E. NAVAJO DR. STE 100                                           Unliquidated
          HOBBS, NM 88240                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $129.94
          PIPELINE PRODUCTS SPECIALTY                                         Contingent
          COMPANY                                                             Unliquidated
          3890-C NORTH FREEWAY                                                Disputed
          HOUSTON, TX 77022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,748.12
          PIPELINE SUPPLY & SERVICE, INC                                      Contingent
          PO BOX 301130                                                       Unliquidated
          HOUSTON, TX 77230-1130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,828.85
          PIPELINE SUPPLY & SVC CO., LLC                                      Contingent
          1010 LAMAR, STE 710                                                 Unliquidated
          HOUSTON, TX 77002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $36.61
          Pitney Bowes Global Financial                                       Contingent
          P. O. BOX 371887                                                    Unliquidated
          PITTSBURGH, PA 15250-7887                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $89,031.28
          POWER ENGINEERING SERVICES, INC.                                    Contingent
          9179 SHADOW CREEK LANE                                              Unliquidated
          CONVERSE, TX 78109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $979.84
          PURCHASE POWER                                                      Contingent
          1245 E. BRICKYARD RD. STE 250                                       Unliquidated
          SALT LAKE CITY, UT 84106-4278                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,188.86
          QUILL CORPORATION                                                   Contingent
          100 SCHELTER RD.                                                    Unliquidated
          LINCOLNSHIRE, IL 60069                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $290.00
          REED SMITH LLP                                                      Contingent
          225 FIFTH AVENUE                                                    Unliquidated
          PITTSBURGH, PA 15222                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,703.00
          REGISTERED AGENT SOLUTIONS INC.                                     Contingent
          1701 DIRECTORS BLVD                                                 Unliquidated
          SUITE 300                                                           Disputed
          AUSTIN, TX 78744
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $854.11
          REINFORCING STEEL SUPPLY INC.                                       Contingent
          13730 AVE K                                                         Unliquidated
          AUSTIN, TX 78728                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,752.06
          RELEVANT INDUSTRIAL, LLC
          9750 WEST SAM HOUSTON PARKWAY                                       Contingent
          NORTH                                                               Unliquidated
          SUITE 190                                                           Disputed
          HOUSTON, TX 77064
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $139.75
          RELIANCE COMMUNICATIONS                                             Contingent
          INTERNATIONAL INC.                                                  Unliquidated
          380 MADISON AVE. 21ST FL.                                           Disputed
          NEW YORK, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          RETIREMENT, LLC - SERIES TWO                                        Contingent
          13838 QUAIL POINTE DRIVE                                            Unliquidated
          SUITE B                                                             Disputed
          OKLAHOMA CITY, OK 73134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $221,855.35
          REXEL USA                                                           Contingent
          DEPT. 0902                                                          Unliquidated
          P.O. BOX 120902                                                     Disputed
          DALLAS, TX 75312-0902
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,699.47
          RILCO MANUFACTURING COMPANY IN                                      Contingent
          11435 BRITTMOORE PARK DR.                                           Unliquidated
          HOUSTON, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,364.32
          ROLLED ALLOYS, L.P.                                                 Contingent
          9818 E. HARDY RD                                                    Unliquidated
          HOUSTON, TX 77093                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Roy Luce
          c/o Eric Roberson                                                   Contingent
          Kilgore & Kilgore PLLC                                              Unliquidated
          3109 Carlisle Street                                                Disputed
          Dallas, TX 75204-1194
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,288.19
          ROYCE BROOKS GARAGE                                                 Contingent
          809 OAK                                                             Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $52.00
          SAFEGUARD BACKGROUND SCREENING                                      Contingent
          1284 SOM CENTER RD #119                                             Unliquidated
          MAYFIELD HEIGHTS, OH 44124                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,967.57
          SAFERACK, LLC                                                       Contingent
          730 ELECTRIC DR.                                                    Unliquidated
          SUMTER, SC 29153                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $44,749.31
          SANTA FE VACUUM EXCAVATION                                          Contingent
          14 BROWNCASTLE RANCH                                                Unliquidated
          SANTA FE, NM 87508                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,060.72
          SANTA FE WASTE MANAGEMENT LLC                                       Contingent
          PO BOX 29540                                                        Unliquidated
          SANTA FE, NM 87592-9540                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $695.00
          SERVICE RADIO RENTALS LLC                                           Contingent
          P. O. BOX 4577                                                      Unliquidated
          CAROL STREAM, IL 60197-4577                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,168.82
          SETPOINT INTEGRATED SOLUTIONS                                       Contingent
          P. O. BOX 86630                                                     Unliquidated
          BATON ROUGE, LA 70809                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,000.64
          SHIDLOFSKY LAW FIRM PLLC                                            Contingent
          7200 N. MOPAC EXPRESSWAY                                            Unliquidated
          SUITE 430                                                           Disputed
          AUSTIN, TX 78731
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,250.00
          SHINPAUGH ENGINEERING INC                                           Contingent
          4 EUREKA CIRCLE                                                     Unliquidated
          WITCHITA FALLS, TX 76308                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Siemens Energy, Inc.                                                Contingent
          Attn: David Munroe
          Quadrangle, 4400 Alfaya Trail MC Q2-290
                                                                              Unliquidated
          Orlando, FL 32826                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $146,900.00
          SIERRA CANYON CONSTRUCTION , LLC                                    Contingent
          1040 DON DIEGO AVE STE 9                                            Unliquidated
          SANTE FE, NM 87505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,136.63
          SK GLOBAL SOFTWARE                                                  Contingent
          940 GEMINI STREET                                                   Unliquidated
          HOUSTON, TX 77058                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $46,138.00
          SNC LAVALIN ENGINEERING INDIA PVT
          LTD
          TRADE STAR "A" WING 2ND FLOOR JB                                    Contingent
          NAGAR                                                               Unliquidated
          ANDHERI-KURTA ROAD, ANDHERI                                         Disputed
          MUMBIA, MH 00040-0059
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Solairedirect USA Inc.                                              Contingent
          c/o Engie Development, LLC
          1990 Poast Oak Blvd., Suite 1900
                                                                              Unliquidated
          Houston, TX 77056                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,409.94
          SOUTH TEXAS DUMPSTERS                                               Contingent
          9346 TX-106 LOOP                                                    Unliquidated
          SAN ANTONIO, TX 78263                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,303.53
          SOUTHWEST STAINLESS & ALLOY                                         Contingent
          6750 WEST LOOP SOUTH                                                Unliquidated
          SUITE 520                                                           Disputed
          BELLAIRE, TX 77401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $156,948.00
          SPIRE CONSULTING GROUP, LLC                                         Contingent
          114 WEST 7TH ST., STE 1300                                          Unliquidated
          NORWOOD TOWER                                                       Disputed
          AUSTIN, TX 78701
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,040.00
          STEPHENS RUBBER STAMPS & SIGNS                                      Contingent
          1201 BUTTERNUT                                                      Unliquidated
          ABILENE, TX 79602                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,670.63
          STEWART & STEVENSON POWER
          PRODUCTS, LLC                                                       Contingent
          55 WAUGH DRIVE                                                      Unliquidated
          SUITE 1000                                                          Disputed
          HOUSTON, TX 77007
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $260.05
          SUDDENLINK COMMUNICATIONS                                           Contingent
          520 MARYVILLE CTR DR., 1ST FLR                                      Unliquidated
          ST. LOUIS, MO 63141                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $74,927.02
          SUNBELT RENTALS, INC                                                Contingent
          2341 DEERFIELD DR.                                                  Unliquidated
          FORT MILL, SC 29715                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,594.87
          SUNSTATE EQUIPMENT CO., LLC                                         Contingent
          5552 E. WASHINGTON ST.                                              Unliquidated
          PHOENIX, AZ 85034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,245.00
          TACTICAL AUTOMATION INC                                             Contingent
          24165 IH-10 WEST                                                    Unliquidated
          SUITE 217 #632                                                      Disputed
          SAN ANTONIO, TX 78257
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $280,360.00
          TEXAS ReEXCAVATION LC                                               Contingent
          5114 RAILROAD STREET                                                Unliquidated
          DEER PARK, TX 77536                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,332.98
          THE HARKER GROUP LLC                                                Contingent
          8 S. ATLANTA ST.                                                    Unliquidated
          OWASSO, OK 74055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $575.52
          THE LANTERN PROJECT                                                 Contingent
          P. O. BOX 72                                                        Unliquidated
          ABILENE, TX 79604-0072                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $60.80
          The National Board of Boiler &                                      Contingent
          VESSEL INSPECTORS                                                   Unliquidated
          1055 CRUPPER AVE.                                                   Disputed
          COLUMBUS, OH 43229-1183
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $181.86
          THE PAINT & SAFETY STORE, INC.                                      Contingent
          201 S. BENTON ST.                                                   Unliquidated
          BIG SPRING, TX 79720                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $253.31
          THOMSON REUTERS WEST                                                Contingent
          P.O. BOX 64833                                                      Unliquidated
          ST. PAUL, MN 55164-0833                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,819.54
          THYSSENKRUPP ELEVATOR CORP                                          Contingent
          P.O. BOX 933004                                                     Unliquidated
          ATLANTA, GA 31193-3004                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $558.54
          TIOGA PIPE SUPPLY CO., INC                                          Contingent
          2450 WHEATSHEAF LN                                                  Unliquidated
          PHILADELPHIA, PA 19137                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
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 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $375.00
          TONY CONDER                                                         Contingent
          4150 SOUTWEST DR                                                    Unliquidated
          STE 210                                                             Disputed
          ABILENE, TX 79606
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,075.33
          TRIBRIDGE HOLDINGS LLC.                                             Contingent
          4830 W. KENNEDY BLVD, STE 890                                       Unliquidated
          TAMPA, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,526.00
          TRILEGAL                                                            Contingent
          ONE INDIABULLS CENTRE 14TH FL                                       Unliquidated
          TOWER 1, ELPHINSTONE RD                                             Disputed
          MUMBAI, INDIA 00040-0013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,418.53
          TROY VINES INC                                                      Contingent
          2817 RANKIN HIGHWAY                                                 Unliquidated
          MIDLAND, TX 79706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,232.00
          TRUELINE CONSTRUCTION LAYOUT, LLC                                   Contingent
          9918 MCCULLOUGH AVE                                                 Unliquidated
          SAN ANTONIO, TX 78216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Tucker Albin & Associates                                           Contingent
          c/o Russell Baker                                                   Unliquidated
          1212 Turtle Creek Blvd.                                             Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.00
          TULSA HEATERS INC.                                                  Contingent
          1350 S. BOULDER STE 800                                             Unliquidated
          TULSA, OK 74119                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
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 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $114.21
          TURNAROUND TRANSPORTATION, INC                                      Contingent
          1052 JAN LEE DR.                                                    Unliquidated
          BURKBURNETT, TX 76354                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,489.96
          TX COMPTROLLER OF PUBLIC ACCTS                                      Contingent
          P.O. BOX 149348                                                     Unliquidated
          AUSTIN, TX 78714-9348                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $65.73
          TXU ENERGY                                                          Contingent
          6555 SIERRA                                                         Unliquidated
          DALLAS, TX 75265-0638                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $506.25
          ULINE                                                               Contingent
          2200 S. LAKESIDE DRIVE                                              Unliquidated
          WAUKEGAN, IL 60085                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $477,600.18
          UNITED RENTALS (North America)                                      Contingent
          FIVE GREENWICH OFFICE PARK                                          Unliquidated
          GREENWICH, CT 06831-5180                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $339.78
          UNITED WAY OF ABILENE                                               Contingent
          P.O. BOX 82                                                         Unliquidated
          ABILENE, TX 79604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,963.67
          Universal Fidelity LP                                               Contingent
          900 Threadneedle, Suite 600                                         Unliquidated
          Houston, TX 77079                                                   Disputed
          Date(s) debt was incurred March 2021
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,168.56
          VALVE SOURCE, INC                                                   Contingent
          4115 GREENBRIAR DR., STE B                                          Unliquidated
          STAFFORD, TX 77477                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,311.56
          VERSATILE INDUSTRIES V, LLC                                         Contingent
          P.O. BOX 62608                                                      Unliquidated
          MIDLAND, TX 79711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $597.01
          VULCAN CONSTRUCTION MATERIALS                                       Contingent
          P O BOX 849131                                                      Unliquidated
          SUITE 400                                                           Disputed
          DALLAS, TX 75284-9131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $370.59
          Warren Cat                                                          Contingent
          PO Box 842116                                                       Unliquidated
          Dallas, TX 75284-2116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $387.50
          WDS PARTNERS LP                                                     Contingent
          6000 WESTERN PL., SUITE 110                                         Unliquidated
          FT. WORTH, TX 76107                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $263,148.37
          WEST TEXAS DUMPSTERS                                                Contingent
          6100 LAKE FORREST DR                                                Unliquidated
          SUITE 505                                                           Disputed
          ATLANTA, GA 30328
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $41,701.00
          WESTERN STATES FIRE PROTECTION                                      Contingent
          5200 PASADENA AVE NE                                                Unliquidated
          SUITE A                                                             Disputed
          ALBUQUERQUE, NM 87113
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 83 of 85
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 Debtor       Lauren Engineers & Constructors, Inc.                                                   Case number (if known)            21-10051-rlj
              Name

 3.228     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $825.05
           WILLIAM ROSS MCDANIEL                                              Contingent
           2228 BAYOU COVE LN                                                 Unliquidated
           LEAGUE CITY, TX 77573                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $43,391.88
           WILLIAMS SCOTSMAN                                                  Contingent
           3232 S. 48th ST                                                    Unliquidated
           PHOENIX, AZ 85040                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $125.00
           WISCONSIN DEPT. FIN. INSTITUTI                                     Contingent
           DIV. OF CORP. & CONSUMER                                           Unliquidated
           P O BOX 7846                                                       Disputed
           MADISON, WI 53707-7846
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.231     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $20,288.29
           WOLSELEY IND GROUP                                                 Contingent
           4407 W. Industrial Ave.                                            Unliquidated
           Midland, TX 79703                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $11,188.33
           WOOD EIS INC                                                       Contingent
           1105 LAKEWOOD PKWY                                                 Unliquidated
           SUITE 300                                                          Disputed
           ALPHARETTA, GA 30009
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.233     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,754.70
           WTG Fuels , INC.                                                   Contingent
           P.O. Box 1215                                                      Unliquidated
           4000 Pine St.                                                      Disputed
           Abilene, TX 79604
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.234     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $389.07
           XEROX FINANCIAL SERVICES LLC                                       Contingent
           SUITE 245                                                          Unliquidated
           8606 ALLISONVILLE ROAD                                             Disputed
           INDIANAPOLIS, IN 46250
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 84 of 85
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 Debtor       Lauren Engineers & Constructors, Inc.                                               Case number (if known)         21-10051-rlj
              Name


   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Brian Sinn
           Siemens Energy, Inc.                                                                  Line      3.185
           Quadrangle, 4400 Alafaya Trail MC Q2-290
           Orlando, FL 32826                                                                           Not listed. Explain


 4.2       Michael Wenger
           Legal Counsel                                                                         Line      3.185
           Siemens Energy, Inc.
           Quadrangle, 4400 Alafaya Trail MC Q2-290                                                    Not listed. Explain

           Orlando, FL 32826


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                 2,939,280.59
 5b. Total claims from Part 2                                                                        5b.    +   $                17,218,740.08
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                   20,158,020.67




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 85 of 85
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 Fill in this information to identify the case:

 Debtor name         Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-10051-rlj
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Contractor License
              lease is for and the nature of              Bond
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        California Contractors State License Bd.
                    government contract       140277


 2.2.         State what the contract or                  Tyler Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     CG Investments, LP
              List the contract number of any                                        PO Box 4737
                    government contract                                              Houston, TX 77210-4737


 2.3.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                        Employee Non-Disclosure Agreements
                    government contract


 2.4.         State what the contract or
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Engie North America, Inc.
              List the contract number of any                                        1360 Post Oak Blbd., Suite 400
                    government contract                                              Houston, TX 77056




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 5
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 Debtor 1 Lauren Engineers & Constructors, Inc.                                              Case number (if known)   21-10051-rlj
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Enterprise Crude Pipeline, LLC
             List the contract number of any                                         P.O. Box 4735
                   government contract                                               Houston, TX 77210


 2.6.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Enterprise Products Operating, LLC
             List the contract number of any                                         P.O. Box 4324
                   government contract                                               Houston, TX 77210


 2.7.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FTC Solar, Inc.
             List the contract number of any                                         9020 N. Capital of Texas Hwy, Suite 260
                   government contract                                               Austin, TX 78750


 2.8.        State what the contract or                   Technical Services
             lease is for and the nature of               Agreement/
             the debtor's interest                        Confidential Disclosure
                                                          Agreement
                  State the term remaining
                                                                                     Magema Technology LLC
             List the contract number of any                                         710 N. Post Oak Road, Suite 351
                   government contract                                               Houston, TX 77024


 2.9.        State what the contract or                   General Agreement of
             lease is for and the nature of               Indemnity
             the debtor's interest

                  State the term remaining
                                                                                     Markel Surety d/b/a SureTec Indemnity Co
             List the contract number of any                                         1330 Post Oak Blvd., Suite 1100
                   government contract                                               Houston, TX 77056


 2.10.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Mott Corporation
                                                                                     84 Spring Lane
             List the contract number of any                                         Farmington, CT 06032
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 5
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 Debtor 1 Lauren Engineers & Constructors, Inc.                                               Case number (if known)   21-10051-rlj
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   NM Contractor License
             lease is for and the nature of               Code Bond UP 8-15
             the debtor's interest                        (License & Permit)-
                                                          Replaced Hartford
                                                          Bond No.
                                                          46BSBGO8987
                  State the term remaining

             List the contract number of any                                          New Mexico Regulation and Licensing
                   government contract       5254549


 2.12.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                          Non-Disclosure Agreements
                   government contract


 2.13.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Occidental Permian, Ltd.
             List the contract number of any                                          P.O. Box 2004
                   government contract                                                Houston, TX 77252


 2.14.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                          See attached list of leased equipment
                   government contract


 2.15.       State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Siemens Energy, Inc.
             List the contract number of any                                          4400 Alafaya Trail
                   government contract                                                Orlando, FL 32826




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 5
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 Debtor 1 Lauren Engineers & Constructors, Inc.                                              Case number (if known)   21-10051-rlj
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Performance Bond
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Siemens Energy, Inc.
             List the contract number of any                                         c/o Brian Sinn, Project Director
                   government contract


 2.17.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Solairedirect USA Inc.
                                                                                     c/o Engie Development, LLC
             List the contract number of any                                         1990 Poast Oak Blvd., Suite 1900
                   government contract                                               Houston, TX 77056


 2.18.       State what the contract or                   Performance Bond
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Solairedirect USA Inc.
                                                                                     c/o Engie Development, LLC
             List the contract number of any                                         1990 Poast Oak Blvd., Suite 1900
                   government contract                                               Houston, TX 77056


 2.19.       State what the contract or                   AZ Registrar of
             lease is for and the nature of               Contractors License
             the debtor's interest                        Bond Bond RC-L-220D
                                                          Rev 7-12 UP 4-15
                                                          (License & Permit) -
                                                          Replaced Hartford
                                                          Bond No.
                                                          46BSBGO8997
                  State the term remaining
                                                                                     State of Arizona
             List the contract number of any                                         Registrr of Contractors
                   government contract       5254548


 2.20.       State what the contract or                   AZ Registrar of
             lease is for and the nature of               Contractors License
             the debtor's interest                        Bond RC-L-220D Rev
                                                          7-12 UP 4-15 (License &
                                                          Permit)
                  State the term remaining
                                                                                     State of Arizona
             List the contract number of any                                         Registrar of Contractors
                   government contract       5262502




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 5
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 Debtor 1 Lauren Engineers & Constructors, Inc.                                                Case number (if known)   21-10051-rlj
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.21.       State what the contract or                   California Bond of
             lease is for and the nature of               Qualifying Individual
             the debtor's interest

                  State the term remaining

             List the contract number of any                                           State of California
                   government contract       144954


 2.22.       State what the contract or                   MS Contractors Blanket
             lease is for and the nature of               Sales & Use Tax Bond
             the debtor's interest

                  State the term remaining
                                                                                       State of Mississippi
             List the contract number of any                                           Department of Revenue
                   government contract       5268552


 2.23.       State what the contract or                   Nevada State
             lease is for and the nature of               Contractor Board -
             the debtor's interest                        License Bind

                  State the term remaining

             List the contract number of any                                           State of Nevada
                   government contract       5262492


 2.24.       State what the contract or                   Park Office Building
             lease is for and the nature of               (901 South 1st Street)
             the debtor's interest

                  State the term remaining
                                                                                       Whitener Family Limited Partnership I
             List the contract number of any                                           901 South 1st Street
                   government contract                                                 Abilene, TX 79601


 2.25.       State what the contract or                   550 South 18th
             lease is for and the nature of               Fabrication Facility
             the debtor's interest

                  State the term remaining
                                                                                       Whitener Family Limited Partnership I
             List the contract number of any                                           901 South 1st Street
                   government contract                                                 Abilene, TX 79601




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 5 of 5
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                                    1101 ESE
                                    Loop 323,                            gary@allcopytx.com
Canon Image Press 5255   JME07137                    066125   All Copy                        $228.80    1/2/2020    Lease, Service
                                    Suite 200                            325-267-2320
                                    Tyler

                                    901 S 1st,                           gary@allcopytx.com
Canon Image Press 700    UME00726                    068228   All Copy                        $568.75                Lease, Service      5/15/2023
                                    4th Floor                            325-267-2320
                                    901 S 1st,
                                    3rd Floor,                           gary@allcopytx.com
Canon Image Press 5550   WXD02685                    068621   All Copy                        $228.80                Lease, Service      7/23/2023
                                    Document                             325-267-2320
                                    Control
                                    901 S 1st,,
                                                                         gary@allcopytx.com
Canon Image Press 5550   WXC04177   4th Floor,       068671   All Copy                        $228.80                Lease, Service      7/30/2023
                                    Estimating                           325-267-2320

                                    901 S 1st,
                                                                         gary@allcopytx.com
Canon Image Press 5550   WXD05044   1st Floor        068779   All Copy                        $228.80                Lease, Service      8/6/2023
                                    Accounting                           325-267-2320

                                    901 S 1st,
                                                                         gary@allcopytx.com
Canon Image Press 5550   XLG06034   2nd Floor        068835   All Copy                        $228.80                Lease, Service      8/10/2023
                                    Engineering                          325-267-2320

                                    901 S 1st,
                                                                         gary@allcopytx.com
Canon Image Press 5550   WXD03394   2nd Floor        068853   All Copy                        $228.80   8/27/2020    Lease, Service      8/27/2023
                                    Legal/HR/IT                          325-267-2320


                                    550 S 18th,                          gary@allcopytx.com
Canon Image Press 5550   WXD05235                    068988   All Copy                        $228.80    9/3/2020    Lease, Service      9/1/2023
                                    Main Office                          325-267-2320

                                    SIE005                               gary@allcopytx.com                                           when project
Canon IRC 5240           JRA08758                    064947   All Copy                        $200.00   11/8/2019    Lease, Service
                                    Los Alamos, NM                       325-267-2320                                                 completes
                                    SDU002
                                    13657 US HWY                         gary@allcopytx.com                                           when project
Canon IRC 5250           JMQ10682                    064964   All Copy                        $200.00   9/30/2019    Lease, Service
                                    180, Gail Tx                         325-267-2320                                                 completes
                                    79738
                                    ENT009
                                    1503 North                           gary@allcopytx.com                                           when project
Canon IRC 5240           RRD08515   County Road      065599   All Copy                        $130.00   11/7/2019    Lease, Service
                                    1140, Midland,                       325-267-2320                                                 completes
                                    TX

                                    SDU003                               gary@allcopytx.com
Canon IRC 5250           JMQ12630                    069186   All Copy                        $200.00   12/15/2020   Lease, Service   2/1/2021
                                    Anson, Tx                            325-267-2320
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 Fill in this information to identify the case:

 Debtor name         Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-10051-rlj
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      BECKY                             1147 ELMWOOD DR                                  Markel Surety d/b/a             D
             WHITENER                          ABILENE, TX 79602                                SureTec Indemnity                E/F
                                                                                                Co                              G



    2.2      Estate of Cleve                   McMahon Surovik Suttle, PC                       Origin Bank                     D
             Whitener                          P.O. Box 3679                                                                     E/F
                                               Abilene, TX 79604                                                                G




    2.3      Estate of Cleve                   McMahon Surovik Suttle, PC                       Markel Surety d/b/a             D
             Whitener                          P.O. Box 3679                                    SureTec Indemnity                E/F
                                               Abilene, TX 79604                                Co                              G




    2.4      KAMTECH                           901 S. First Street                              Origin Bank                     D
             Services, Inc.                    Abilene, TX 79602                                                                 E/F
                                                                                                                                G



    2.5      Marital Trust of                  1147 ELMWOOD DR                                  Origin Bank                     D        2.4
             the Last Will of                  ABILENE, TX 79602                                                                 E/F
             C. Whi
                                                                                                                                G



Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 3
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 Debtor       Lauren Engineers & Constructors, Inc.                                  Case number (if known)   21-10051-rlj


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Residuary Trust                   1147 ELMWOOD DR                            Origin Bank                   D       2.4
             of the Last Will of               ABILENE, TX 79602                                                         E/F
             C. W
                                                                                                                        G



    2.7      The Lauren                        901 S. First Street                        Origin Bank                   D
             Corporation                       Abilene, TX 79602                                                         E/F
                                                                                                                        G



    2.8      The Lauren                        901 S. 1st Street                          Markel Surety d/b/a           D
             Corporation                       Abilene, TX 79602                          SureTec Indemnity              E/F
                                                                                          Co                            G



    2.9      The Lauren                        901 S. First Street                        Origin Bank                   D       2.4
             Corporation                       Abilene, TX 79602                                                         E/F
                                                                                                                        G



    2.10     TLC Air, LLC                      901 S. First Street                        Origin Bank                   D
                                               Abilene, TX 79602                                                         E/F
                                                                                                                        G



    2.11     TLC Air, LLC                      901 S. First Street                        Origin Bank                   D       2.4
                                               Abilene, TX 79602                                                         E/F
                                                                                                                        G



    2.12     US Small                          409 3rd St, SW                             Origin Bank                   D
             Business                          Washington, DC 20416                                                      E/F       3.149
             Association
                                                                                                                        G



    2.13     Whitener Family                   901 South 1st Street                       Markel Surety d/b/a           D
             Limited                           Abilene, TX 79601                          SureTec Indemnity              E/F
             Partnership I                                                                Co                            G




Official Form 206H                                                    Schedule H: Your Codebtors                                    Page 2 of 3
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 Debtor       Lauren Engineers & Constructors, Inc.                                     Case number (if known)   21-10051-rlj


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Markel Surety                     1330 Post Oak Blvd., Suite 1100               Siemens Energy, Inc.          D
             d/b/a SureTec                     Houston, TX 77056                                                            E/F
             Indemnity Co                                                                                                  G       2.15




    2.15     Markel Surety                     1330 Post Oak Blvd., Suite 1100               Solairedirect USA             D
             d/b/a SureTec                     Houston, TX 77056                             Inc.                           E/F
             Indemnity Co                                                                                                  G       2.17




Official Form 206H                                                       Schedule H: Your Codebtors                                    Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Lauren Engineers & Constructors, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         21-10051-rlj
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 22, 2021                          X /s/ Jack Shoemate
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jack Shoemate
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re      Lauren Engineers & Constructors, Inc.                                                       Case No.   21-10051-rlj
                                                                                  Debtor(s)             Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Lauren Engineers & Constructors, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 The Lauren Corporation
 901 S. 1st Street
 Abilene, TX 79602




 None [Check if applicable]




 April 22, 2021                                                      /s/ Kell C. Mercer
 Date                                                                Kell C. Mercer
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Lauren Engineers & Constructors, Inc.
                                                                     Kell C. Mercer, P.C.
                                                                     1602 E. Cesar Chavez Street
                                                                     Austin, TX 78702
                                                                     (512) 627-3512
                                                                     kell.mercer@mercer-law-pc.com




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